                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 1 of 49



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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   THE REGENTS OF THE UNIVERSITY OF
                                                                         11   CALIFORNIA and JANET NAPOLITANO,
United States District Court




                                                                              in her official capacity as President of the                     No. C 17-05211 WHA
                                                                              University of California,                                        No. C 17-05235 WHA
                               For the Northern District of California




                                                                         12                                                                    No. C 17-05329 WHA
                                                                         13                  Plaintiffs,                                       No. C 17-05380 WHA
                                                                                                                                               No. C 17-05813 WHA
                                                                         14     v.

                                                                         15   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and KIRSTJEN                                   ORDER DENYING
                                                                         16   NIELSEN, in her official capacity as Secretary                   FRCP 12(b)(1) DISMISSAL
                                                                              of the Department of Homeland Security,                          AND GRANTING
                                                                         17                                                                    PROVISIONAL RELIEF
                                                                                             Defendants.
                                                                         18                                                    /

                                                                         19                                         INTRODUCTION
                                                                         20          In these challenges to the government’s rescission of the Deferred Action for Childhood
                                                                         21   Arrivals program, plaintiffs move for provisional relief while the government moves to dismiss
                                                                         22   for lack of jurisdiction. For the reasons below, dismissal is DENIED and some provisional relief
                                                                         23   is GRANTED.
                                                                         24                                            STATEMENT
                                                                         25          In 2012, the United States Department of Homeland Security adopted a program to
                                                                         26   postpone deportation of undocumented immigrants brought to America as children and, pending
                                                                         27   action in their cases, to assign them work permits allowing them to obtain social security
                                                                         28   numbers, pay taxes, and become part of the mainstream economy. This program received the
                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 2 of 49



                                                                          1   title “Deferred Action for Childhood Arrivals” — DACA for short. In 2017, however, after the
                                                                          2   national election and change in administrations, the agency eventually reversed itself and began
                                                                          3   a phase-out of DACA. All agree that a new administration is entitled to replace old policies
                                                                          4   with new policies so long as they comply with the law. One question presented in these related
                                                                          5   actions is whether the new administration terminated DACA based on a mistake of law rather
                                                                          6   than in compliance with the law.
                                                                          7          1.      HISTORY OF DEFERRED ACTION.
                                                                          8          At the core of these cases is an administrative practice known as “deferred action.”
                                                                          9   A primary question presented concerns the extent to which the Department of Homeland
                                                                         10   Security could lawfully use deferred action to implement DACA, and so it is important to review
                                                                         11   the history of deferred action as well as of other features of the DACA program.
United States District Court
                               For the Northern District of California




                                                                         12          Congress has the constitutional power to “establish an uniform Rule of Naturalization.”
                                                                         13   Art. I, § 8, cl. 4. Pursuant thereto, Congress has established a comprehensive scheme governing
                                                                         14   immigration and naturalization through the Immigration and Nationality Act. 8 U.S.C. §§ 1101,
                                                                         15   et seq. The Secretary of Homeland Security is “charged with the administration and enforcement
                                                                         16   of [the INA] and all other laws relating to the immigration and naturalization of aliens.”
                                                                         17   8 U.S.C. § 1103(a)(1). The Secretary is further charged with “establishing national immigration
                                                                         18   enforcement policies and priorities.” 6 U.S.C. § 202(5).
                                                                         19          One of the key enforcement tools under the INA is removal, i.e., deportation. In turn,
                                                                         20   “[a] principal feature of the removal system is the broad discretion exercised by immigration
                                                                         21   officials.” Arizona v. United States, 567 U.S. 387, 396 (2012). As an initial matter, in any given
                                                                         22   case, immigration officials “must decide whether it makes sense to pursue removal at all.” Ibid.
                                                                         23   At each stage of the removal process, they have “discretion to abandon the endeavor.” Reno v.
                                                                         24   Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 483 (1999) (“AADC”).
                                                                         25          Beginning as early as 1975, one way to exercise this discretion became “deferred action.”
                                                                         26   By deferred action, immigration officials could postpone, seemingly indefinitely, the removal of
                                                                         27   individuals unlawfully present in the United States “for humanitarian reasons or simply for [the
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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 3 of 49



                                                                          1   Executive’s] own convenience.” Id. at 483–84. Immigration officials could also grant parole,
                                                                          2   temporary protected status, deferred enforced departure, or extended voluntary departure.
                                                                          3           Some of these discretionary powers have flowed from statute. Parole, for example,
                                                                          4   has allowed otherwise inadmissible aliens to temporarily enter the United States “for urgent
                                                                          5   humanitarian reasons or significant public benefit.” 8 U.S.C. § 1182(d)(5)(A). Temporary
                                                                          6   protected status, also created by statute, has been available to nationals of designated foreign
                                                                          7   states affected by armed conflicts, environmental disasters, and other extraordinary conditions.
                                                                          8   8 U.S.C. § 1254a.
                                                                          9           Some of these discretionary powers, however, have flowed from nonstatutory powers.
                                                                         10   Deferred enforced departure had no statutory basis but, instead, grew out of “the President’s
                                                                         11   constitutional powers to conduct foreign relations.” USCIS, Adjudicator’s Field Manual
United States District Court
                               For the Northern District of California




                                                                         12   § 38.2(a) (2014). Nor has extended voluntary departure been anchored in any statute. Rather,
                                                                         13   it has been recognized as part of the discretion of the Attorney General. Hotel & Restaurant
                                                                         14   Employees Union, Local 25 v. Smith, 846 F.2d 1499, 1510 (D.C. Cir. 1988) (en banc).
                                                                         15           Deferred action, originally known as “nonpriority” status, also began “without express
                                                                         16   statutory authorization” but has since been recognized by the Supreme Court as a “regular
                                                                         17   practice.” AADC, 525 U.S. at 484. Congress has also acknowledged deferred action by explicit
                                                                         18   reference to it in the INA (8 U.S.C. § 1227(d)(2)):
                                                                         19                   The denial of a request for an administrative stay of removal under
                                                                                              this subsection shall not preclude the alien from applying for a stay
                                                                         20                   of removal, deferred action, or a continuance or abeyance of
                                                                                              removal proceedings under any other provision of the immigration
                                                                         21                   laws of the United States.
                                                                         22           Another federal statute, the REAL ID Act, also acknowledged deferred action. REAL ID
                                                                         23   Act of 2005, Pub. L. No. 109-13, div. B, 119 Stat. 231. This law provided that states could issue
                                                                         24   a temporary driver’s license or identification card to persons who can demonstrate an
                                                                         25   “authorized stay in the United States.” Id. §§ 202(c)(2)(C)(i)–(ii). Persons with “approved
                                                                         26   deferred action status” were expressly identified as being present in the United States during a
                                                                         27   “period of authorized stay,” for the purpose of issuing state identification cards. Id. §§
                                                                         28   202(c)(2)(B)(viii), (C)(ii).


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                                                                                Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 4 of 49



                                                                          1                Congress has also given the Executive Branch broad discretion to determine when
                                                                          2    noncitizens may work in the United States. Arizona Dream Act Coal. v. Brewer, 757 F.3d 1053,
                                                                          3    1062 (9th Cir. 2014) (“Brewer I”); see 8 U.S.C. § 1324a(h)(3) (defining an “unauthorized alien”
                                                                          4    not entitled to work in the United States as an alien who is neither a legal permanent resident
                                                                          5    nor “authorized to be . . . employed by [the INA] or by the [Secretary of Homeland Security]”).
                                                                          6    Pursuant to this statutory authority, regulations promulgated in the 1980s allowed recipients of
                                                                          7    deferred action to apply for work authorization if they could demonstrate an “economic necessity
                                                                          8    for employment.” 8 C.F.R. § 274a.12(c)(14).
                                                                          9                The George W. Bush Administration began to use deferred action to mitigate a harsh
                                                                         10    statutory provision involving “unlawful presence.” The Illegal Immigration Reform and
                                                                         11    Immigrant Responsibility Act of 1996 created three- and ten-year bars on the admission of
United States District Court
                               For the Northern District of California




                                                                         12    aliens who departed or were removed from the United States after periods of “unlawful
                                                                         13    presence” of between 180 days and one year, or more than one year, respectively. 8 U.S.C.
                                                                         14    § 1182(a)(9)(B)(i). It also imposed a permanent bar on the admission of any alien who,
                                                                         15    without being admitted, entered or attempted to reenter the United States after having been
                                                                         16    unlawfully present for an aggregate period of more than one year. 8 U.S.C. § 1182(a)(9)(C)(i).
                                                                         17    Beginning in 2007, however, DHS regulations and policy guidance provided that deferred action
                                                                         18    recipients did not accrue “unlawful presence” for purposes of the INA’s bars on re-entry.
                                                                         19    8 C.F.R. § 214.14(d)(3); 28 C.F.R. § 1100.35(b)(2); Memorandum for Field Leadership,
                                                                         20    from Donald Neufeld, Acting Associate Director, Domestic Operations Directorate, USCIS,
                                                                         21    Re: Consolidation of Guidance Concerning Unlawful Presence for Purposes of Sections
                                                                         22    212(a)(9)(B)(i) and 212(a)(9)(C)(i)(i) of the Act at 42 (May 6, 2009). DHS excluded recipients
                                                                         23    of deferred action from being “unlawfully present” because their deferred action is a period of
                                                                         24    stay authorized by the government. Brewer I, 757 F.3d at 1059 (citing 8 U.S.C.
                                                                         25    § 1182(a)(9)(B)(ii)). This nonaccrual practice arose well before DACA.1
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                                                                                        Undocumented aliens do not begin to accrue “unlawful presence” for purposes of
                                                                         28   Section 1182(a)(9)(B)(i) until they reach the age of eighteen. 8 U.S.C. § 1182(a)(9)(B)(iii).


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                                                                                Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 5 of 49



                                                                          1                DACA grew out of a long agency history of discretionary relief programs. In 1956, the
                                                                          2    Eisenhower Administration paroled roughly one thousand foreign-born orphans who had been
                                                                          3    adopted by American citizens but were precluded from entering the United States because of
                                                                          4    statutory quotas. That same administration later granted parole to tens of thousands of
                                                                          5    Hungarian refugees after the unsuccessful Hungarian revolution. Both programs flowed from
                                                                          6    presidential statements, and the programs later ended (in 1959 and 1958, respectively) when
                                                                          7    Congress passed laws enabling the paroled individuals to become lawful permanent residents
                                                                          8    (App. 1602–03, 1948–57; AR 33).2
                                                                          9                In 1987, President Ronald Reagan instituted the Family Fairness Program, a non-
                                                                         10    statutory program that provided extended voluntary departure to children whose parents were in
                                                                         11    the process of legalizing their immigration status under the Immigration Reform and Control Act
United States District Court
                               For the Northern District of California




                                                                         12    of 1986. President George H.W. Bush extended the non-statutory program in 1990 to cover
                                                                         13    spouses of such legalized aliens, and the program ultimately provided immigration relief to
                                                                         14    approximately 1.5 million people. The need for the program ended with the passage of the
                                                                         15    Immigration Act of 1990 (App. 1607, 1612–13, 1703).
                                                                         16                On at least four occasions prior to the creation of DACA, immigration officials have
                                                                         17    extended deferred action programs to certain classes of aliens, none of which programs was
                                                                         18    expressly authorized by statute:
                                                                         19                •      In 1997, INS established a deferred action program for individuals
                                                                         20                       self-petitioning for relief under the Violence Against Women Act of
                                                                         21                       1994. This program is still in place today. As originally enacted, the
                                                                         22                       Act did not mention deferred action, but instead provided a pathway
                                                                         23                       to lawful permanent residency. Deferred action allowed applicants
                                                                         24                       to remain in the country pending a decision on their applications.
                                                                         25
                                                                         26            2
                                                                                           “App.” refers to the appendix submitted in support of plaintiffs’ motion for provisional relief (Dkt.
                                                                              Nos. 113, 117–19, 121, 124). In connection with their motion for provisional relief, plaintiffs seek judicial
                                                                         27   notice of thirty-nine exhibits submitted with the appendix (Dkt. No. 111-2). The request is unopposed.
                                                                              These exhibits consist of congressional testimony and government publications, memoranda, and press releases.
                                                                         28   Plaintiffs’ request for judicial notice is GRANTED.


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 6 of 49



                                                                          1                  Congress later expanded the deferred action program in the 2000
                                                                          2                  VAWA reauthorization legislation (App. at 1640–46).
                                                                          3          •       In 2002 and 2003, INS issued memoranda instructing officers to make
                                                                          4                  deferred action assessments for T visa applicants (victims of human
                                                                          5                  trafficking) and U visa applicants (victims of crimes such as domestic
                                                                          6                  violence) (App. 1650–58). These programs have since been codified in
                                                                          7                  regulations promulgated by INS and DHS. 8 C.F.R. §§ 214.11(k)(1),
                                                                          8                  (k)(4), (m)(2); 8 C.F.R. § 214.14(d)(2).
                                                                          9          •       After Hurricane Katrina in 2005, USCIS announced a deferred action
                                                                         10                  program for certain foreign students (F-1 visa holders) who, because of
                                                                         11                  the hurricane, could not satisfy the requirements of their student visas.
United States District Court
                               For the Northern District of California




                                                                         12                  In announcing the program, USCIS stated that “[t]he interim relief
                                                                         13                  [would] remain in effect until February 1, 2006” (App. 1661–62).
                                                                         14          •       In 2009, to fill a gap under the law, USCIS established a deferred
                                                                         15                  action program for widowed spouses who had been married to United
                                                                         16                  States citizens for less than two years. Congress later eliminated the
                                                                         17                  statutory requirement that an alien be married to a United States citizen
                                                                         18                  for at least two years at the time of the citizen’s death to retain
                                                                         19                  eligibility for lawful immigration status, and USCIS accordingly
                                                                         20                  withdrew the deferred action program as “obsolete” (App. 1664–82).
                                                                         21          In sum, by the time DACA arrived in 2012, deferred action programs had become a
                                                                         22   well-accepted feature of the executive’s enforcement of our immigration laws, recognized as
                                                                         23   such by Congress and the Supreme Court.
                                                                         24          2.      DACA.
                                                                         25          On June 15, 2012, Secretary of Homeland Security Janet Napolitano issued a
                                                                         26   memorandum establishing Deferred Action for Childhood Arrivals. Under DACA, immigrants
                                                                         27   brought to the United States as children could apply for deferred action for a two-year period,
                                                                         28   subject to renewal. To qualify for DACA, an individual must: (1) have come to the United


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 7 of 49



                                                                          1   States before the age of sixteen and been under the age of thirty-one on June 15, 2012;
                                                                          2   (2) have been present in the United States on June 15, 2012; (3) have been continuously residing
                                                                          3   in the United States for at least the prior five years; (4) have been enrolled in school, graduated
                                                                          4   from high school, obtained a GED, or been honorably discharged from the United States military
                                                                          5   or Coast Guard; and (5) not pose a threat to national security or public safety (AR 1).
                                                                          6          The 2012 DACA memo described the program as an exercise of “prosecutorial
                                                                          7   discretion.” Secretary Napolitano found leniency “especially justified” for the DACA-eligible,
                                                                          8   whom she described as “productive young people” who “have already contributed to our country
                                                                          9   in significant ways.” The memo further stated that these individuals “lacked the intent to violate
                                                                         10   the law” and were low priority cases for deportation (AR 1–2).
                                                                         11          DACA applicants had to pass a DHS background check and applications had to be
United States District Court
                               For the Northern District of California




                                                                         12   “decided on a case by case basis.” To apply for DACA, eligible individuals completed USCIS
                                                                         13   Form I-821D. The application called for substantial personal information, such as biographical
                                                                         14   information, date of entry into the United States, immigration status or lack thereof, educational
                                                                         15   history, and all prior residential addresses since entering the United States.
                                                                         16          Form I-821D also required substantial documentary support, including proof of identity
                                                                         17   and proof of continuous residence in the United States through rent receipts, utility bills,
                                                                         18   employment documents, or similar records. Applicants also appeared at a USCIS field office
                                                                         19   to provide fingerprints, photographs, and signatures. The form’s instructions stated (App. 1820):
                                                                         20                  Information provided in this request is protected from disclosure
                                                                                             to ICE and U.S. Customs and Border Protection (CBP) for the
                                                                         21                  purpose of immigration enforcement proceedings unless the
                                                                                             requestor meets the criteria for the issuance of a Notice To Appear
                                                                         22                  or a referral to ICE under the criteria set forth in USCIS’ Notice to
                                                                                             Appear guidance (www.uscis.gov/NTA). The information may be
                                                                         23                  shared with national security and law enforcement agencies,
                                                                                             including ICE and CBP, for purposes other than removal,
                                                                         24                  including for assistance in the consideration of deferred action for
                                                                                             childhood arrivals request itself, to identify or prevent fraudulent
                                                                         25                  claims, for national security purposes, or for the investigation or
                                                                                             prosecution of a criminal offense. The above information sharing
                                                                         26                  clause covers family members and guardians, in addition to the
                                                                                             requestor.
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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 8 of 49



                                                                          1          The form’s instructions also stated (App. 1808):
                                                                          2                  Individuals who receive deferred action will not be placed into
                                                                                             removal proceedings or removed from the United States for a
                                                                          3                  specified period of time, unless the Department of Homeland
                                                                                             Security (DHS) chooses to terminate the deferral.
                                                                          4
                                                                                     DACA applicants also submitted a Form I-765, Application for Employment
                                                                          5
                                                                              Authorization, a Form I-765WS, Worksheet, and the accompanying fees. To determine an
                                                                          6
                                                                              applicant’s eligibility for work authorization, USCIS reviewed the applicant’s current annual
                                                                          7
                                                                              income, current annual expenses, and the total current value of his or her assets (App. 1762,
                                                                          8
                                                                              1801–21, 2067–87).
                                                                          9
                                                                                     If approved, the recipient received a Form I-797, Notice of Action, stating (App. 585):
                                                                         10
                                                                                             USCIS, in the exercise of its prosecutorial discretion, has decided
                                                                         11                  to defer action in your case. Deferred action is an exercise of
United States District Court




                                                                                             prosecutorial discretion by USCIS not to pursue the removal of an
                               For the Northern District of California




                                                                         12                  individual from the United States for a specific period. Deferred
                                                                                             action does not confer or alter any immigration status.
                                                                         13
                                                                                     Significantly, DHS could terminate a recipient’s deferred action at any time, at the
                                                                         14
                                                                              agency’s discretion, and DACA paved no pathway to lawful permanent residency, much less
                                                                         15
                                                                              citizenship (App. 1774, 1808). Secretary Napolitano concluded her DACA memorandum
                                                                         16
                                                                              (AR 1–3):
                                                                         17
                                                                                             This memorandum confers no substantive right, immigration status
                                                                         18                  or pathway to citizenship. Only the Congress, acting through its
                                                                                             legislative authority, can confer these rights. It remains for the
                                                                         19                  executive branch, however, to set forth policy for the exercise of
                                                                                             discretion within the framework of the existing law. I have done
                                                                         20                  so here.
                                                                         21          But DACA did provide important benefits. First, under pre-existing regulations, DACA
                                                                         22   recipients became eligible to receive employment authorization for the period of deferred action,
                                                                         23   thereby allowing them to obtain social security numbers and to become legitimate taxpayers and
                                                                         24   contributing members of our open economy. 8 C.F.R. § 274a.12(c)(14). Second, deferred action
                                                                         25   provided a measure of safety for a period of two years from detention and removal, albeit always
                                                                         26   subject to termination at any time in any individual case. Third, DACA recipients could apply
                                                                         27   for “advance parole” to obtain permission to travel overseas and be paroled back into the United
                                                                         28   States. 8 C.F.R. § 212.5(f). Fourth, also pursuant to pre-existing regulations, DACA recipients


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 9 of 49



                                                                          1   avoided accrual of time for “unlawful presence” under the INA’s bar on re-entry. 8 U.S.C.
                                                                          2   § 1182(a)(9)(B)–(C) (establishing three-year, ten-year, and permanent bars on the admission
                                                                          3   of aliens after specified periods of “unlawful presence”).
                                                                          4          USCIS “strongly encourage[d]” DACA recipients to submit renewal requests between
                                                                          5   120 and 150 days before the expiration date-stamped on the recipient’s Form I-797. According
                                                                          6   to the “Frequently Asked Questions” posted on the agency’s website, recipients were eligible for
                                                                          7   renewal under DACA so long as they: (1) did not depart the United States on or after August 15,
                                                                          8   2012, without advance parole; (2) continuously resided in the United States since submitting
                                                                          9   their most recent DACA request; and (3) had not received criminal convictions (with minor
                                                                         10   exceptions). Renewal requests did not require additional documentary support (App. 1756–57).
                                                                         11          The agency adopted DACA without any notice or opportunity for public comment.
United States District Court
                               For the Northern District of California




                                                                         12          According to data published by USCIS, 793,026 applicants received deferred action
                                                                         13   under DACA since its inception. As of September 2017, there remained approximately 689,800
                                                                         14   active DACA recipients. Their average age was 23.8. Based on a survey completed by
                                                                         15   Associate Professor Tom K. Wong in August 2017, 91 percent of DACA recipients had jobs,
                                                                         16   and 45 percent of DACA recipients were enrolled in school (App. 1494–1522, 1533–52).
                                                                         17          3.      THE DAPA LITIGATION.
                                                                         18          In 2014, DHS announced a different deferred action program for parents of United States
                                                                         19   citizens or lawful permanent residents, titled “Deferred Action for Parents of Americans and
                                                                         20   Lawful Permanent Residents” — shortened to the confusingly-similar acronym DAPA.
                                                                         21          For our purposes, DAPA is important because the United States Court of Appeals for
                                                                         22   the Fifth Circuit promptly held that DAPA exceeded the statutory authority of DHS, a holding
                                                                         23   that eventually moved Attorney General Jeff Sessions to rule that DACA too had exceeded the
                                                                         24   agency’s authority. Texas v. United States, 809 F.3d 134 (5th Cir. 2015).
                                                                         25          The 2014 DAPA memo directed USCIS “to establish a process, similar to DACA, for
                                                                         26   exercising prosecutorial discretion through the use of deferred action, on a case-by-case basis,”
                                                                         27   for aliens who had a son or daughter who was a United States citizen or lawful permanent
                                                                         28   resident and: (1) were not an enforcement priority under DHS policy; (2) had continuously


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 10 of 49



                                                                          1   resided in the United States since before January 1, 2010; (3) had been physically present in the
                                                                          2   United States both when DHS announced DAPA and at the time of application to the program;
                                                                          3   and (4) presented “no other factors that, in the exercise of discretion, [made] the grant of
                                                                          4   deferred action inappropriate” (AR 37–41).
                                                                          5          That same 2014 announcement also expanded DACA in three minor ways: (1) allowing
                                                                          6   otherwise eligible immigrants to apply for DACA even if they were older than 31 on the day
                                                                          7   DACA was earlier announced; (2) extending DACA renewals and work authorizations from
                                                                          8   two- to three-year periods; and (3) adjusting DACA’s date-of-entry requirement from June 15,
                                                                          9   2007, to January 1, 2010 (AR 37–41).
                                                                         10          DAPA was also adopted without notice or opportunity for public comment.
                                                                         11          A coalition of twenty-six states immediately filed suit in the United States District Court
United States District Court
                               For the Northern District of California




                                                                         12   for the Southern District of Texas to challenge DAPA. The district court preliminarily enjoined
                                                                         13   its implementation on the ground that DHS had failed to comply with the APA’s
                                                                         14   notice-and-comment requirements. Texas v. United States, 86 F. Supp. 3d 591 (S.D. Tex. 2015).
                                                                         15   The district court’s order stated that “with three minor exceptions,” the case did not involve
                                                                         16   DACA (id. at 606):
                                                                         17                  The Complaint in this matter does not include the actions taken by
                                                                                             Secretary Napolitano, which have to date formalized the status of
                                                                         18                  approximately 700,000 teenagers and young adults. Therefore,
                                                                                             those actions are not before the Court and will not be addressed
                                                                         19                  by this opinion. Having said that, DACA will necessarily be
                                                                                             discussed in this opinion as it is relevant to many legal issues in
                                                                         20                  the present case. For example, the States maintain that the DAPA
                                                                                             applications will undergo a process identical to that used for
                                                                         21                  DACA applications and, therefore, DACA’s policies and
                                                                                             procedures will be instructive for the Court as to DAPA’s
                                                                         22                  implementation.
                                                                         23          In holding that DAPA violated notice-and-comment procedures, the district court held
                                                                         24   that it constituted “a new rule that substantially change[d] both the status and employability of
                                                                         25   millions” and inflicted “major costs on both states and federal government.” It therefore should
                                                                         26   have been issued, the district court held, after notice and opportunity for public comment. Id. at
                                                                         27   671. Though the order focused on DAPA, it also preliminarily enjoined everything in the 2014
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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 11 of 49



                                                                          1   memorandum, including the three minor ways in which DACA had been modified (but left alone
                                                                          2   the 2012 DACA program).
                                                                          3             The Fifth Circuit affirmed in a split decision but added a further ground for affirmance.
                                                                          4   Texas, 809 F.3d at 178. Over a dissent, the appellate panel added the ground that DAPA was
                                                                          5   substantively foreclosed by statute because the INA contained “an intricate process for illegal
                                                                          6   aliens to derive a lawful immigration classification from their children’s immigration status,”
                                                                          7   and that DAPA, by providing “the benefits of lawful presence” to undocumented immigrants
                                                                          8   “solely on account of their children’s immigration status,” was inconsistent with this statutory
                                                                          9   scheme, which provided its own pathway for lawful presence to parents of children lawfully
                                                                         10   in the United States. Id. at 179–80, 186. The Fifth Circuit’s holding was also based on its
                                                                         11   observation that “the INA does not grant the Secretary discretion to grant deferred action and
United States District Court
                               For the Northern District of California




                                                                         12   lawful presence on a class-wide basis to 4.3 million otherwise removable aliens.” Id. at 186
                                                                         13   n.202. The decision was later affirmed without opinion by an equally divided Supreme Court.
                                                                         14   United States v. Texas, 136 S. Ct. 2271 (2016) (per curiam).3
                                                                         15             In February 2017, DHS Secretary John Kelly issued guidance regarding the Trump
                                                                         16   Administration’s immigration enforcement priorities. Although the guidance rescinded “all
                                                                         17   existing conflicting directives, memoranda, or field guidance regarding the enforcement of our
                                                                         18   immigration laws and priorities for removal,” the 2012 DACA memo and 2014 DAPA memo
                                                                         19   were explicitly left in place. The guidance also said that the 2014 DAPA memo would “be
                                                                         20   addressed in future guidance” (AR 229–34).
                                                                         21             In June 2017, Secretary Kelly rescinded the 2014 DAPA memo, which rescission
                                                                         22   included the 2014 expansions of DACA. He explained:
                                                                         23                    I have considered a number of factors, including the preliminary
                                                                                               injunction in this matter, the ongoing litigation, the fact that DAPA
                                                                         24                    never took effect, and our new immigration enforcement priorities.
                                                                                               After consulting with the Attorney General, and in the exercise of
                                                                         25                    my discretion in establishing national immigration enforcement
                                                                                               policies and priorities, I hereby rescind the November 20, 2014,
                                                                         26                    memorandum.
                                                                         27
                                                                         28         3
                                                                                        Such an affirmance has no precedential value. Neil v. Biggers, 409 U.S. 188, 192 (1972).


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 12 of 49



                                                                          1   Again, however, Secretary Kelly declared that the 2012 DACA memo would remain in effect
                                                                          2   (AR 235–37).
                                                                          3          4.      RESCISSION OF DACA.
                                                                          4          Also in June 2017, ten of the twenty-six plaintiffs from the DAPA litigation wrote to
                                                                          5   Attorney General Jeff Sessions to demand rescission of the 2012 DACA memo. Their letter
                                                                          6   stated that if DACA was rescinded by September 5, they would dismiss the still-pending DAPA
                                                                          7   litigation. Otherwise, the letter threatened to try to amend their complaint to additionally
                                                                          8   challenge the legality of DACA (AR 238–40).
                                                                          9          A day before the deadline, the Attorney General advised Acting Secretary of Homeland
                                                                         10   Security Elaine Duke via a short letter that the Obama Administration had created DACA
                                                                         11   “without proper statutory authority and with no established end-date, after Congress’ repeated
United States District Court
                               For the Northern District of California




                                                                         12   rejection of proposed legislation that would have accomplished a similar result,” and that
                                                                         13   therefore the program was an “unconstitutional exercise of authority by the Executive Branch.”
                                                                         14   The Attorney General’s letter also referenced the preliminary injunction against DAPA, then
                                                                         15   stated that “[b]ecause the DACA policy has the same legal and constitutional defects that the
                                                                         16   courts recognized as to DAPA, it is likely that potentially imminent litigation would yield similar
                                                                         17   results with respect to DACA” (AR 251).
                                                                         18          The following day, without prior notice, the Acting Secretary rescinded DACA.
                                                                         19   The rescission was not based on any policy criticism. Instead, it was based on the legal
                                                                         20   determination by the Attorney General. The Acting Secretary explained that after “[t]aking into
                                                                         21   consideration the Supreme Court’s and the Fifth Circuit’s rulings in the ongoing litigation, and
                                                                         22   the September 4, 2017, letter from the Attorney General, it is clear that the June 15, 2012,
                                                                         23   DACA program should be terminated.” She said that “[r]ecognizing the complexities associated
                                                                         24   with winding down the program,” DHS would “provide a limited window” in which it would
                                                                         25   adjudicate certain requests, but that new DACA requests and applications for employment
                                                                         26   authorization would be rejected starting immediately. DHS would adjudicate, on a case-by-case
                                                                         27   basis, DACA renewal requests received within thirty days from beneficiaries whose DACA
                                                                         28   status would expire before March 5, 2018. She also instructed DHS to immediately stop


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 13 of 49



                                                                          1   approving new applications for advance parole. The rescission left in place all extant grants of
                                                                          2   deferred action and work authorizations for the remainder of their validity periods (AR 252–56).
                                                                          3   Consequently, starting in March 2018, the DACA population will, over two years, dwindle down
                                                                          4   to zero.
                                                                          5            On the night of the rescission, President Trump called upon Congress specifically to
                                                                          6   enact DACA, tweeting, “Congress now has 6 months to legalize DACA (something the Obama
                                                                          7   Administration was unable to do). If they can’t, I will revisit this issue!” During an interview
                                                                          8   earlier in 2017, President Trump had stated “we are not after the dreamers, we are after the
                                                                          9   criminals” and that “the dreamers should rest easy” (App. 1852–53, 1958).
                                                                         10            In sum, the new administration didn’t terminate DACA on policy grounds. It terminated
                                                                         11   DACA over a point of law, a pithy conclusion that the agency had exceeded its statutory and
United States District Court
                               For the Northern District of California




                                                                         12   constitutional authority. An important question now presented is whether that conclusion was a
                                                                         13   mistake of law.
                                                                         14            5.      THE INSTANT LITIGATION.
                                                                         15            Plaintiffs herein filed five related non-class lawsuits in this district, all now before the
                                                                         16   undersigned judge. The first commenced on September 8, brought by The Regents of the
                                                                         17   University of California, on its own behalf and on behalf of its students, and Janet Napolitano,
                                                                         18   in her official capacity as President of the University. UC Plaintiffs allege they have invested
                                                                         19   considerable resources in recruiting students and staff who are DACA recipients, and that these
                                                                         20   individuals make important contributions to the University. As DACA recipients lose their work
                                                                         21   authorizations, UC Plaintiffs allege that the University will lose significant intellectual capital
                                                                         22   and productivity. They further allege that students who lose DACA protections will be unable
                                                                         23   “to plan for the future, apply for and obtain internships and certain financial aid and
                                                                         24   scholarships, study abroad, or work to pay their tuition and other expenses,” and as a result may
                                                                         25   withdraw from the University altogether (UC Compl. ¶¶ 4–6, 34–37, 48–49).4
                                                                         26
                                                                         27            4
                                                                                         Two additional DACA lawsuits proceed in the Eastern District of New York before Judge Nicholas
                                                                              Garaufis, State of New York v. Trump, Case No. 17-cv-05228 NGG, and Vidal v. Baran, Case No. 16-cv-04756
                                                                         28   NGG.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 14 of 49



                                                                          1           On September 11, the States of California, Maine, Maryland, and Minnesota filed suit.
                                                                          2   Plaintiff States allege that they are home to more than 238,000 DACA recipients, and that the
                                                                          3   loss of their residents’ DACA status and work authorizations will injure their public colleges
                                                                          4   and universities, upset the States’ workforces, disrupt the States’ statutory and regulatory
                                                                          5   interests, cause harm to hundreds of thousands of their residents, damage their economies,
                                                                          6   and hurt companies based in Plaintiff States (States Compl. ¶¶ 1–10).
                                                                          7           The City of San Jose, on its own behalf and on behalf of its employees who are DACA
                                                                          8   recipients, filed its action on September 14. San Jose alleges that it has hired DACA recipients
                                                                          9   into vital City jobs, that substantial resources were invested in training these employees, and that
                                                                         10   the City will be harmed when these employees are forced to leave the workforce (when they lose
                                                                         11   their work authorizations). San Jose further alleges that it will continue to lose tax revenue as
United States District Court
                               For the Northern District of California




                                                                         12   DACA recipients lose work authorizations and can no longer contribute to the City’s tax base
                                                                         13   (San Jose Compl. ¶¶ 10, 28, 49–51).
                                                                         14           On September 18, Individual DACA recipients Dulce Garcia, Miriam Gonzalez Avila,
                                                                         15   Saul Jimenez Suarez, Viridiana Chabolla Mendoza, Norma Ramirez, and Jirayut
                                                                         16   Latthivongskorn brought suit to challenge the termination of DACA. Individual Plaintiffs work
                                                                         17   and study in the fields of law, medicine, education, and psychology. They allege that the loss of
                                                                         18   DACA will frustrate their professional goals and accomplishments. They further allege that as a
                                                                         19   result of the rescission, they will lose access to numerous federal and state benefits, and may not
                                                                         20   be able to reside in the United States with their families. They applied for DACA in reliance on
                                                                         21   the government’s representations that information provided under the program would not be
                                                                         22   used for purposes of immigration enforcement (Garcia Compl. ¶¶ 4–9, 55, 59, 72, 78, 85, 95,
                                                                         23   128).
                                                                         24           Finally, the County of Santa Clara and the Service Employees International Union Local
                                                                         25   521 filed their complaint on October 10. The County alleges that it employs DACA recipients,
                                                                         26   including union members, in key positions, such as in its In-Home Supportive Services Program
                                                                         27   and New Americans Fellowship Program. The County alleges that it has expended time and
                                                                         28   money in training these employees, and that it relies on them to provide important services.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 15 of 49



                                                                          1   As DACA recipients leave the workforce, the County will lose important employees, will incur
                                                                          2   harm to its economy and suffer decreased tax revenue, and will incur the costs of increased
                                                                          3   dependency on subsidized health care and other County services. Local 521 sues as an
                                                                          4   associational plaintiff on behalf of its members who are DACA recipients, and alleges that the
                                                                          5   Union’s organizational mission is to organize, represent, and empower employees, as well as
                                                                          6   mobilize immigration reform (Santa Clara Compl. ¶¶ 1, 15–20, 32, 37, 43–52).
                                                                          7          Collectively, plaintiffs assert the following claims:
                                                                          8          •      The rescission violated the Administrative Procedure Act because it
                                                                          9                 was arbitrary, capricious, an abuse of discretion, and otherwise not in
                                                                         10                 accordance with law (UC Compl. ¶¶ 50–58; State Compl. ¶¶ 152–55;
                                                                         11                 Garcia Compl. ¶¶ 165–84; Santa Clara Compl. ¶¶ 67–73).
United States District Court
                               For the Northern District of California




                                                                         12          •      The rescission violated the APA because it was a substantive rule that
                                                                         13                 did not comply with the APA’s notice-and-comment requirements or
                                                                         14                 the Regulatory Flexibility Act’s mandate under 5 U.S.C. § 604 that
                                                                         15                 an agency publish analysis of a rule’s impact on small businesses
                                                                         16                 (UC Compl. ¶¶ 59–66; State Compl. ¶¶ 146–63; San Jose Compl.
                                                                         17                 ¶¶ 59–63; Garcia Compl. ¶¶ 177–84).
                                                                         18          •      The rescission deprived DACA recipients of constitutionally-protected
                                                                         19                 property and liberty interests without due process of law. Plaintiffs also
                                                                         20                 allege that the rescission violated due process because the government
                                                                         21                 changed its policy regarding agency use of DACA-related information
                                                                         22                 (UC Compl. ¶¶ 67–73; State Compl. ¶¶ 141–45; Garcia Compl.
                                                                         23                 ¶¶ 133–47; Santa Clara Compl. ¶¶ 59–66).
                                                                         24          •      The rescission violates equal protection of the law because it was
                                                                         25                 motivated by discriminatory animus and because it deprived DACA
                                                                         26                 grantees of their substantial interests in supporting themselves and
                                                                         27                 furthering their education (State Compl. ¶¶ 172–77; San Jose Compl.
                                                                         28                 ¶¶ 52–58; Garcia Compl. ¶¶ 148–59; Santa Clara Compl. ¶¶ 74–78).


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 16 of 49



                                                                          1          •       The rescission violates equitable estoppel. DACA recipients provided
                                                                          2                  detailed personal information to the government and rearranged their
                                                                          3                  lives based on the government’s representations, but now face the
                                                                          4                  possibility of removal. Plaintiffs argue that the government should
                                                                          5                  therefore be equitably estopped from terminating DACA or from using
                                                                          6                  their DACA information for immigration enforcement purposes (State
                                                                          7                  Compl. ¶¶ 164–71; Garcia Compl. ¶¶ 192–99; Santa Clara Compl.
                                                                          8                  ¶¶ 79–86).
                                                                          9          •       Plaintiffs seek a declaration that the rescission was unlawful and an
                                                                         10                  order restoring DACA (UC Compl. at 16, State Compl. at 35–36;
                                                                         11                  San Jose Compl. at 15–16; Garcia Compl. at 43; Santa Clara Compl.
United States District Court
                               For the Northern District of California




                                                                         12                  at 26–27).
                                                                         13          On September 21, an initial case management conference occurred for all DACA actions
                                                                         14   in our district. At the conference, all counsel, including government counsel, presented a joint
                                                                         15   proposal whereby the government would file the administrative record by October 13.
                                                                         16   Significantly, although the government argued that discovery would be premature, it agreed to
                                                                         17   submit the administrative record without any condition that it be done before any decision on its
                                                                         18   threshold jurisdictional motion (presumably because it knew its jurisdictional motion would be
                                                                         19   premised on the administrative record) (see Dkt. No. 114 at 16; Tr. at 17:3, 22:2). The Court
                                                                         20   made only slight revisions to the joint proposal, all in aid of a stated goal of providing a full
                                                                         21   record and final decision for our court of appeals prior to the March 5 expiration date. Pursuant
                                                                         22   to FRCP 26, a case management order then set a October 6 deadline for the government to file
                                                                         23   the administrative record, set a briefing schedule for the parties’ motions to dismiss, for
                                                                         24   provisional relief, or for summary judgment, and permitted the parties to proceed with
                                                                         25   reasonable, limited, and narrowly-directed discovery (Dkt. No. 49).
                                                                         26          The government filed an administrative record on October 6. It was merely, however,
                                                                         27   fourteen documents comprising 256 pages of which 187 consisted of published opinions from
                                                                         28   the DAPA litigation, and all of which already resided in the public domain. All non-public


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 17 of 49



                                                                          1    materials, some eighty-four documents, actually reviewed by the Acting Secretary remained
                                                                          2    withheld as privileged (Dkt. No. 71). In other words, of the ninety-eight DACA-related
                                                                          3    documents personally considered by the decisionmaker, all but the fourteen already known to
                                                                          4    the public were withheld as privileged. Although government counsel further indicated, upon
                                                                          5    inquiry by the district judge, that the decisionmaker had also likely received verbal input,
                                                                          6    nothing was included in the administrative record to capture this input. Nor were there any
                                                                          7    materials regarding the agency’s earlier, recent decisions to leave DACA in place.
                                                                          8                On October 9, plaintiffs moved to require the government to complete the administrative
                                                                          9    record, seeking all materials considered directly or indirectly by the Acting Secretary in
                                                                         10    reaching her decision to rescind DACA, which motion was granted in part and denied in part.
                                                                         11    The government, having earlier consented to filing the administrative record, was ordered to
United States District Court
                               For the Northern District of California




                                                                         12    keep its word and to file a complete administrative record (Dkt. Nos. 65, 79–80).
                                                                         13                Instead, the government filed a petition for writ of mandamus with our court of appeals,
                                                                         14    seeking relief from having to complete the administrative record until after its jurisdictional
                                                                         15    arguments were determined, a turnabout from its earlier voluntary proposal and stipulation to
                                                                         16    file the administrative record as part of an agreed-upon schedule. After full briefing and oral
                                                                         17    argument, our court of appeals denied the government’s mandamus petition and vacated the
                                                                         18    stay (over one dissent).5
                                                                         19                The government was again ordered to complete the administrative record, this time by
                                                                         20    November 22, later extended to December 22 to accommodate the government’s claim of
                                                                         21    burden. On December 1, however, the government filed a petition for writ of mandamus and
                                                                         22    application for a stay in the United States Supreme Court. Ultimately, the Supreme Court did
                                                                         23    not reach the merits of the government’s petition but required that defendants’ jurisdictional
                                                                         24    defenses be adjudicated prior to consideration of discovery or completing the administrative
                                                                         25
                                                                                       5
                                                                                          Recently, the United States Court of Appeals for the Second Circuit denied the government’s petition
                                                                         26   for a writ of mandamus to stay an order to supplement the same administrative record. The court of appeals
                                                                              found that there was “a strong suggestion that the record before the District Court was not complete” and, noting
                                                                         27   that nearly 200 pages of the record consisted of published opinions from various federal courts, “[i]t is difficult
                                                                              to imagine that a decision as important as whether to repeal DACA would be made based upon a factual record
                                                                         28   of little more than 56 pages, even accepting that litigation risk was the reason for repeal.” In Re: Kirstjen M.
                                                                              Nielsen, No. 17-3345 (2d. Cir. Dec. 27, 2017).

                                                                                                                                        17
                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 18 of 49



                                                                          1   record (Dkt. Nos. 86, 188, 197, 214, 224), a decision the district judge himself might have made
                                                                          2   at the outset save for the government’s own proposal and agreement to file the administrative
                                                                          3   record in October.
                                                                          4          Consequently, this action has proceeded on the incomplete administrative record
                                                                          5   initially filed by the government. Plaintiffs have been forced to draw on other materials.
                                                                          6   Ironically, even the government in these motions relies on material outside of the administrative
                                                                          7   record to defend the agency decision (Dkt. No. 204 at 10, 12, 19–20). The parties have now
                                                                          8   fully briefed motions to dismiss and a motion for provisional relief, all argued on December 20
                                                                          9   (Dkt. Nos. 111, 114). This order now follows.
                                                                         10                                             ANALYSIS
                                                                         11          1.      MOTION TO DISMISS.
United States District Court
                               For the Northern District of California




                                                                         12          Defendants raise three jurisdictional arguments under FRCP 12(b)(1). First, they argue
                                                                         13   that the decision to rescind DACA was a discretionary act barred from judicial review under
                                                                         14   the APA. Second, they contend that the INA bars judicial review. Third, although defendants
                                                                         15   concede that Individual Plaintiffs have standing, they contend that no others do. Each is
                                                                         16   now addressed in turn. A separate order will consider defendants’ motion to dismiss under
                                                                         17   FRCP 12(b)(6).
                                                                         18                  A.     The DACA Rescission Was Not Committed
                                                                                                    To Agency Discretion by Law.
                                                                         19
                                                                                     Congress has instructed our district courts to review and set aside agency action found
                                                                         20
                                                                              to be “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”
                                                                         21
                                                                              5 U.S.C. § 706(2)(A). Under the APA, however, our district courts lack subject-matter
                                                                         22
                                                                              jurisdiction to review agency action that is “committed to agency discretion by law.” 5 U.S.C.
                                                                         23
                                                                              § 701(a)(2).
                                                                         24
                                                                                     In Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971), the
                                                                         25
                                                                              Supreme Court explained that the jurisdictional bar of Section 701(a)(2) is “very narrow” and
                                                                         26
                                                                              “applicable in those rare instances where statutes are drawn in such broad terms that in a given
                                                                         27
                                                                              case there is no law to apply.” The Supreme Court held that because the statute there at issue
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                                                                              contained “clear and specific directives” guiding the agency’s decision, there was “‘law to

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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 19 of 49



                                                                          1   apply,’ so the exemption for action ‘committed to agency discretion’ [was] inapplicable.” Id. at
                                                                          2   411–13 (quotations and citations omitted).
                                                                          3          When it next revisited the exception in Heckler v. Chaney, 470 U.S. 821, 830 (1985),
                                                                          4   the Supreme Court reiterated that the exception applies only where “the statute is drawn so
                                                                          5   that a court would have no meaningful standard against which to judge the agency’s exercise
                                                                          6   of discretion.” There, condemned inmates asked the FDA to bring an enforcement action to
                                                                          7   prevent purported violations of the Federal Food, Drug, and Cosmetic Act through the
                                                                          8   administration of death-penalty drugs. The FDA Commissioner, however, refused to do so on
                                                                          9   the ground that the FDA lacked jurisdiction and otherwise should not interfere with the state
                                                                         10   criminal justice system. Skipping over the agency jurisdiction issue, the Supreme Court held
                                                                         11   that such decisions not to prosecute or initiate enforcement actions are generally not reviewable
United States District Court
                               For the Northern District of California




                                                                         12   as they are “committed to an agency’s absolute discretion.” Id. at 824–25, 831.
                                                                         13          Chaney identified several characteristics of non-enforcement decisions as key to
                                                                         14   its holding. First, non-enforcement decisions require a complicated balancing of factors
                                                                         15   “peculiarly within [the agency’s] expertise,” including whether “resources are best spent on
                                                                         16   this violation or another, whether the agency is likely to succeed if it acts, whether the particular
                                                                         17   enforcement action requested best fits the agency’s overall policies, and . . . whether the agency
                                                                         18   has enough resources to undertake the action at all.” Id. at 831. Second, in refusing to act,
                                                                         19   an agency “does not exercise its coercive power over an individual’s liberty” and accordingly
                                                                         20   “does not infringe upon areas that courts often are called upon to protect.” Id. at 832. When an
                                                                         21   agency does act to enforce, however, that action itself provides a focus for judicial review,
                                                                         22   inasmuch as the agency must have exercised its power in some manner. Third, a refusal to
                                                                         23   institute enforcement proceedings is similar to a prosecutor’s decision not to indict, which
                                                                         24   decision “has long been regarded as the special province of the Executive Branch.” Ibid.
                                                                         25          Our case is different from Chaney. There, the agency simply refused to initiate an
                                                                         26   enforcement proceeding. Here, by contrast, the agency has ended a program which has existed
                                                                         27   for five years affecting 689,800 enrollees. Importantly, major policy decisions are “quite
                                                                         28   different from day-to-day agency nonenforcement decisions.” National Treasury Employees


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 20 of 49



                                                                          1    Union v. Horner, 854 F.2d 490, 496 (D.C. Cir. 1988). Rather, broad enforcement policies “are
                                                                          2    more likely to be direct interpretations of the commands of the substantive statute rather than
                                                                          3    the sort of mingled assessments of fact, policy, and law that drive an individual enforcement
                                                                          4    decision.” Crowley Caribbean Transp., Inc. v. Pena, 37 F.3d 671, 677 (D.C. Cir. 1994).
                                                                          5    Even defendants concede that where “the agency’s interpretation of a statute is embedded in a
                                                                          6    non-reviewable enforcement policy, the former may be reviewable as such” (Dkt. No. 218 at 3
                                                                          7    n.4). Although they contend that the rescission memorandum “does not contain an embedded
                                                                          8    interpretation of the INA,” that assertion is incompatible with the Acting Secretary’s explicit
                                                                          9    references to the INA and the Attorney General’s determination that DACA was effectuated
                                                                         10    without “statutory authority.” The first and third Chaney factors, accordingly, do not apply to
                                                                         11    the instant case.6
United States District Court
                               For the Northern District of California




                                                                         12             Chaney is also distinguishable because, unlike there, here the government reversed
                                                                         13    course after five years of inviting DACA recipients out of the shadows. In contrast to
                                                                         14    nonenforcement decisions, “rescissions of commitments, whether or not they technically
                                                                         15    implicate liberty and property interests as defined under the fifth and fourteenth amendments,
                                                                         16    exert much more direct influence on the individuals or entities to whom the repudiated
                                                                         17    commitments were made.” Robbins v. Reagan, 780 F.2d 37, 47 (D.C. Cir. 1985). Through
                                                                         18    DACA, the government has invited undocumented aliens who meet threshold criteria to step
                                                                         19    forward, disclose substantial personal information, pay a hefty fee, and comply with ongoing
                                                                         20    conditions, all in expectation of (though not a right to) continued deferred action. DACA
                                                                         21    allows enrollees to better plan their careers and lives with a reduced fear of removal. DACA
                                                                         22    work authorizations, for example, allow recipients to join in the mainstream economy (and pay
                                                                         23    taxes). DACA covers a class of immigrants whose presence, seemingly all agree, pose the least,
                                                                         24    if any, threat and allows them to sign up for honest labor on the condition of continued good
                                                                         25    behavior. This has become an important program for DACA recipients and their families, for
                                                                         26
                                                                                        6
                                                                                          Contrary to defendants, Perales v. Casillas, 903 F.2d 1043, 1050 (5th Cir. 1990), is distinguishable
                                                                         27   on its facts. There, the Fifth Circuit addressed a class action stemming from the Immigration and Naturalization
                                                                              Service’s failure to adjudicate requests for voluntary departure. The court of appeals determined that the district
                                                                         28   court had improperly issued an injunction directing INS to consider particular grounds in deciding individual
                                                                              requests for voluntary departure and employment authorization. Id. at 1046.

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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 21 of 49



                                                                          1    the employers who hire them, for our tax treasuries, and for our economy. An agency action to
                                                                          2    terminate it bears no resemblance to an agency decision not to regulate something never before
                                                                          3    regulated.
                                                                          4            Finally, there is law to apply. The main, if not exclusive, rationale for ending DACA
                                                                          5    was its supposed illegality. But determining illegality is a quintessential role of the courts.7
                                                                          6                     B.       The INA Does Not Bar Review.
                                                                          7            The principle that courts owe substantial deference to the immigration determinations of
                                                                          8    the political branches is important and undisputed. Washington v. Trump, 847 F.3d 1151, 1162
                                                                          9    (9th Cir. 2017). That deference, however, does not remove the decision to rescind DACA from
                                                                         10    the ambit of judicial review. Rather, the Supreme Court has applied the “strong presumption
                                                                         11    in favor of judicial review of administration action” in the immigration context. See INS v.
United States District Court
                               For the Northern District of California




                                                                         12    St. Cyr, 533 U.S. 289, 298–99 (2001).
                                                                         13            In this connection, defendants raise two arguments. First, they contend that review
                                                                         14    of discretionary enforcement decisions results in the inappropriate delay of removal, and
                                                                         15    accordingly prolongs violations of our immigration laws. This argument, however, again
                                                                         16    ignores that plaintiffs do not challenge any particular removal but, rather, challenge the abrupt
                                                                         17    end to a nationwide deferred-action and work-authorization program. In any individual case,
                                                                         18    DACA allows DHS to revoke deferred status and to deport. Second, defendants assert that
                                                                         19    review of such decisions may involve disclosure of law enforcement priorities and
                                                                         20    foreign-policy objectives. Neither concern is implicated here, as defendants’ stated reasons
                                                                         21    for the rescission all relate to the across-the-board cancellation of DACA based on supposed
                                                                         22    illegality, not to the facts particular to any proposed removal.
                                                                         23
                                                                         24
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                                                                                       7
                                                                                         Defendants are correct, of course, that a presumptively unreviewable agency action does not become
                                                                         27   reviewable simply because “the agency gives a reviewable reason for otherwise unreviewable action.” ICC v.
                                                                              Bhd. of Locomotive Eng’s, 482 U.S. 270, 283 (1987). As discussed above, however, the rescission of DACA
                                                                         28   was not such an unreviewable decision.


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 22 of 49



                                                                          1                Nor does Section 1252(g) bar judicial review of the agency action in question. 8 U.S.C.
                                                                          2    § 1252(g) provides:
                                                                          3                       Except as provided in this section and notwithstanding any other
                                                                                                  provision of law (statutory or nonstatutory) . . . no court shall have
                                                                          4                       jurisdiction to hear any cause or claim by or on behalf of any alien
                                                                                                  arising from the decision or action by the Attorney General to
                                                                          5                       commence proceedings, adjudicate cases, or execute removal
                                                                                                  orders against any alien under this chapter.
                                                                          6
                                                                                           As explained by the Supreme Court, this provision applies only to the three discrete
                                                                          7
                                                                               decisions or actions named in Section 1252(g). AADC, 525 U.S. at 482. Plaintiffs’ claims do
                                                                          8
                                                                               not involve such decisions, but rather the challenge here is to the across-the-board cancellation
                                                                          9
                                                                               of a nationwide program.8
                                                                         10
                                                                                           Defendants recognize that these actions were brought prior to the commencement of
                                                                         11
United States District Court




                                                                               any removal proceedings. Nevertheless, they argue that Section 1252(g) precludes review of
                               For the Northern District of California




                                                                         12
                                                                               plaintiffs’ claims because the decision to discontinue deferred action is “an ingredient to the
                                                                         13
                                                                               commencement of enforcement proceedings.” It is true that eliminating DACA draws its
                                                                         14
                                                                               enrollees one step closer to deportation, but the Supreme Court rejected the argument that
                                                                         15
                                                                               Section 1252(g) somehow precludes review of the “many other decisions or actions that may be
                                                                         16
                                                                               part of the deportation process.” As AADC emphasized, “[i]t is implausible that the mention of
                                                                         17
                                                                               three discrete events along the road to deportation was a shorthand way of referring to all claims
                                                                         18
                                                                               arising from deportation proceedings.” Ibid.
                                                                         19
                                                                                           Defendants cite two decisions. Importantly, however, both stemmed from already-
                                                                         20
                                                                               commenced deportation or removal proceedings. See Botezatu v. I.N.S., 195 F.3d 311, 312
                                                                         21
                                                                               (7th Cir. 1999) (declining to review a decision to deny deferred action after plaintiff had been
                                                                         22
                                                                               found deportable); Vasquez v. Aviles, 639 F. App’x 898, 899–900 (3d Cir. 2016) (district court
                                                                         23
                                                                               lacked jurisdiction to hear habeas corpus petition that claimed plaintiff was improperly denied
                                                                         24
                                                                               DACA relief).
                                                                         25
                                                                                           By comparison, our court of appeals has held, following AADC, that Section 1252(g)
                                                                         26
                                                                               does not bar review of actions that occur “prior to any decision to ‘commence proceedings.’”
                                                                         27
                                                                         28            8
                                                                                         The district court in Batalla Vidal also concluded that Section 1252(g) did not bar judicial review of
                                                                              challenges to the DACA rescission. Batalla Vidal v. Duke, 2017 WL 5201116, at *13.

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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 23 of 49



                                                                          1   Kwai Fun Wong v. United States, 373 F.3d 952, 965 (9th Cir. 2004). The claims in Kwai Fun
                                                                          2   Wong challenged the revocation of the plaintiff’s parole without first deciding her application
                                                                          3   for immigration relief, conduct which “resulted in the INS’s decision to commence removal
                                                                          4   proceedings and ultimately to remove” the plaintiff from the United States. Id. at 959, 964.
                                                                          5   Contrary to defendants, it is immaterial that Kwai Fun Wong did not involve deferred action,
                                                                          6   as both the revocation of parole and the revocation of deferred action are “an ingredient” to the
                                                                          7   commencement of enforcement proceedings. The jurisdictional limits of Section 1252(g) were
                                                                          8   instead “directed at the deconstruction, fragmentation, and hence prolongation of removal
                                                                          9   proceedings.” AADC, 525 U.S. at 482.
                                                                         10                    C.      Most Plaintiffs Have Standing.
                                                                         11             To establish standing, Article III of the United States Constitution requires plaintiffs
United States District Court
                               For the Northern District of California




                                                                         12   to show “(1) they suffered an injury in fact, (2) that is fairly traceable to the challenged conduct
                                                                         13   of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo,
                                                                         14   Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555,
                                                                         15   560–61 (1992)). The standing inquiry is focused on whether the plaintiff has a sufficient
                                                                         16   personal stake in the outcome of the controversy to ensure that the parties will be truly adverse
                                                                         17   and their legal presentations sharpened. Massachusetts v. EPA, 549 U.S. 497 (2007). Standing
                                                                         18   must be assessed on a claim-by-claim basis. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352
                                                                         19   (2006).
                                                                         20             Defendants do not dispute that the Individual Plaintiffs have standing. Rather, they argue
                                                                         21   in brief that the entity plaintiffs (the state and local governments, UC Plaintiffs, and SEIU Local
                                                                         22   521) lack Article III standing because the rescission does not regulate or restrict them in any
                                                                         23   way. Defendants therefore posit that the entity plaintiffs’ claimed injuries are due only to
                                                                         24   “incidental effects” of the rescission, which defendants contend are insufficient to establish
                                                                         25   injury-in-fact. As set forth below, these arguments lack merit.
                                                                         26             First, California, Maryland, the City of San Jose, and the County of Santa Clara each
                                                                         27   employ DACA recipients, in connection with whom they have invested substantial resources
                                                                         28   in hiring and training. Plaintiffs allege that they will not only lose these employees as work


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 24 of 49



                                                                          1   authorizations expire, but that they will also need to expend additional resources to hire and train
                                                                          2   replacements. San Jose further alleges that as a result of the rescission, the City has had
                                                                          3   decreased productivity, and that it has had to expend time and resources to deal with decreased
                                                                          4   employee morale (States Compl. ¶¶ 26–27, 32, 53; San Jose Compl. ¶¶ 49–50; Santa Clara
                                                                          5   Compl. ¶¶ 32–37; App. 11, 95–97, 706–07, 798, 1575–76).
                                                                          6          Second, Plaintiff States, including Maine and Maryland, stand to lose significant tax
                                                                          7   revenue as a result of the rescission (States Compl. ¶¶ 28–30, 37, 49–50, 70–71). Although
                                                                          8   general allegations of injury to a state’s economy and the associated decline in general tax
                                                                          9   revenues may not be sufficient to establish standing, here, Plaintiff States sufficiently allege a
                                                                         10   “direct injury in the form of a loss of specific tax revenues.” Wyoming v. Oklahoma, 502 U.S.
                                                                         11   437, 448 (1992). They allege, for example, that Maine stands to lose $96,000 in annual state
United States District Court
                               For the Northern District of California




                                                                         12   and local taxes as DACA recipients leave the workforce (States Compl. ¶¶ 30, 38). Evidence
                                                                         13   submitted by plaintiffs supports these allegations, and demonstrates that DACA’s rescission
                                                                         14   would reduce state and local tax contributions by DACA-eligible individuals by at least half
                                                                         15   (App. 68–74, 218–30).
                                                                         16          Third, the University of California has also established that it will suffer injury to its
                                                                         17   proprietary interests. As declarations submitted by the University demonstrate, the rescission
                                                                         18   has harmed the University in multiple ways. Because DACA recipients can no longer seek
                                                                         19   advance parole, these students are unable to travel outside of the United States for research and
                                                                         20   educational conferences. DACA recipients have also decided to cancel their enrollment in the
                                                                         21   University, and additional recipients are at risk of dropping out, because they would not be able
                                                                         22   to pay the cost of attendance without work authorizations. The University has also invested
                                                                         23   resources in recruiting and retaining DACA recipients as employees in various roles, including
                                                                         24   as teaching assistants and health care providers. Such investments would be lost should these
                                                                         25   employees lose their ability to work in the United States.
                                                                         26          California, Maryland, and Minnesota also allege injury to their public universities
                                                                         27   through harm to their educational missions and the loss of students and teachers. According to
                                                                         28   the declarations filed by plaintiffs, the rescission, and the resulting loss of work authorization


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 25 of 49



                                                                          1    and potential for deportation, will adversely impact the diversity of the talent pool of potential
                                                                          2    students, which will make it more difficult for the universities to fulfill their missions of
                                                                          3    increasing diversity (States Compl. ¶¶ 27, 55, 64–66; App. 12–16, 496–514, 884–90). Our court
                                                                          4    of appeals recently affirmed the standing of two state governments to challenge an immigration
                                                                          5    policy that similarly harmed the plaintiffs’ public universities. Washington v. Trump, 847 F.3d
                                                                          6    1151, 1160–01 (9th Cir. 2017). These injuries accordingly give the University of California and
                                                                          7    the States of California, Maryland, and Minnesota Article III standing. Ibid. (citing Singleton v.
                                                                          8    Wulff, 428 U.S. 106, 114–16 (1976)).9
                                                                          9                Fourth, State Plaintiffs Maryland and Minnesota further allege that the rescission will
                                                                         10    negatively impact their public health programs. In particular, Maryland and Minnesota allege
                                                                         11    that rescinding DACA will cause many DACA grantees to lose their employer-based health
United States District Court
                               For the Northern District of California




                                                                         12    insurance, imposing higher healthcare costs on the state (State Compl. ¶¶ 51, 62). These injuries
                                                                         13    are also sufficient to confer Article III standing.10
                                                                         14                Finally, SEIU Local 521 has associational standing to bring its claims on behalf of its
                                                                         15    members who are DACA recipients. An association has standing to bring suit on behalf of its
                                                                         16    members when: (1) its members would otherwise have standing to sue in their own right;
                                                                         17    (2) the interests it seeks to protect are germane to the organization’s purpose; and (3) neither the
                                                                         18    claim asserted nor the relief requested requires the participation of individual members in the
                                                                         19    lawsuit. Int’l Union, United Auto., Aerospace & Agr. Implement Workers of Am. v. Brock,
                                                                         20
                                                                         21            9
                                                                                        The public universities of California, Maryland, and Minnesota are branches of the states under state
                                                                              law. Campbell v. Regents of Univ. of California, 35 Cal. 4th 311, 321 (2005); Hanauer v. Elkins, 217 Md. 213,
                                                                         22   219, 141 A.2d 903, 906 (Md. 1958); Univ. of Minn. v. Raygor, 620 N.W.2d 680, 683 (Minn. 2001).

                                                                         23            10
                                                                                          Although not discussed by the parties, the District of Columbia Circuit held that Joe Arpaio, Sheriff
                                                                              of Maricopa County, Arizona, lacked Article III standing to challenge DACA. Arpaio v. Obama, 797 F.3d 11
                                                                         24   (D.C. Cir. 2015). While the court of appeals found that the plaintiff’s alleged harm — increased spending on
                                                                              criminal investigation, apprehension, and incarceration — was sufficiently concrete, his theory that DACA
                                                                         25   would lead to an increased number of undocumented immigrants committing crimes in his jurisdiction was too
                                                                              speculative. Id. at 19–20. Here, by contrast, plaintiffs allege that the rescission will cause DACA recipients to
                                                                         26   lose their work authorizations, and that plaintiffs will lose employees and students, suffer decreased tax revenue,
                                                                              and otherwise incur increased costs as a direct result. This case is also different from Crane v. Johnson,
                                                                         27   783 F.3d 244, 252 (5th Cir. 2015), where the Fifth Circuit held that Mississippi lacked standing to challenge
                                                                              DACA because it failed to submit evidence that DACA eligible immigrants resided in the state. Defendants do
                                                                         28   not dispute State Plaintiffs’ allegations that hundreds of thousands of DACA recipients live in Plaintiff States.


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 26 of 49



                                                                          1    477 U.S. 274, 282 (1986) (quoting Hunt v. Washington State Apple Advertising Comm’n,
                                                                          2    432 U.S. 333, 343 (1977)). SEIU has established all three elements here. SEIU has members
                                                                          3    who are DACA recipients. Its constitution states that part of its mission is to provide its
                                                                          4    members with a voice in the larger community, and that its members should be treated equally
                                                                          5    with dignity regardless of immigration status or national origin. SEIU has also formed a
                                                                          6    Committee on Comprehensive Immigration Reform, a member-based committee that engages in
                                                                          7    organizing, advocacy, and education to help undocumented workers. Its members’ interests in
                                                                          8    these actions are therefore germane to SEIU’s stated purpose (App. 801–09). Furthermore, this
                                                                          9    action does not require the participation of SEIU’s individual members.
                                                                         10             Defendants, in arguing that the entity plaintiffs lack standing, rely solely on Linda R.S. v.
                                                                         11    Richard D., 410 U.S. 614, 619 (1973). There, the plaintiff lacked standing to challenge a Texas
United States District Court
                               For the Northern District of California




                                                                         12    state court’s interpretation of a child support statute. Ibid. The Supreme Court held that,
                                                                         13    although the plaintiff had alleged an injury, she had not shown “a direct nexus between the
                                                                         14    vindication of her interest and the enforcement of the State’s criminal laws” because the
                                                                         15    relationship between the state’s decision not to prosecute and the father’s decision not to pay
                                                                         16    under the statute could “at best, be termed only speculative.” Id. at 618–19. Linda R.S. has no
                                                                         17    application here. As explained above, the entity plaintiffs have alleged harm to their proprietary
                                                                         18    interests as a direct result of defendants’ decision to terminate the DACA program, most notably
                                                                         19    through its termination of work authorizations. Accordingly, the entity plaintiffs have
                                                                         20    sufficiently alleged injury-in-fact traceable to the termination of DACA, and have demonstrated
                                                                         21    that these harms are redressable by their requested relief.11
                                                                         22             Turning to prudential standing under the APA, a plaintiff must show that it has suffered
                                                                         23    or will suffer sufficient injury-in-fact, and that “the interest[s] sought to be protected by the
                                                                         24    complainant [are] arguably within the zone of interests to be protected or regulated by the
                                                                         25    statute . . . in question.” Nat’l Credit Union Admin. v. First Nat’l Bank & Trust Co., 522 U.S.
                                                                         26    479, 488 (1998).
                                                                         27
                                                                                       11
                                                                                         Because defendants’ conduct imposes direct injury on the State Plaintiffs’ proprietary interests, this
                                                                         28   order need not reach defendants’ argument that the State Plaintiffs lack standing as parens patriae.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 27 of 49



                                                                          1          A plaintiff that is not itself the subject of the contested regulatory action lacks prudential
                                                                          2   standing only where its interests “are so marginally related to or inconsistent with the purposes
                                                                          3   implicit in the statute that it cannot reasonably be assumed that Congress intended to permit the
                                                                          4   suit.” Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 399 (1987). This test is “not meant to be
                                                                          5   especially demanding,” and must be applied “in keeping with Congress’s evident intent when
                                                                          6   enacting the APA to make agency action presumably reviewable.” Match-E-Be-Nash-She-Wish
                                                                          7   Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012) (quotations and citations
                                                                          8   omitted).
                                                                          9          The parties’ briefs include only a cursory discussion of plaintiffs’ prudential standing
                                                                         10   under the APA. Again, defendants do not dispute that the Individual Plaintiffs also have
                                                                         11   statutory standing. SEIU, which asserts the rights of its members who are DACA recipients,
United States District Court
                               For the Northern District of California




                                                                         12   likewise seeks the protection of interests regulated by the INA. Not all of the entity plaintiffs,
                                                                         13   however, have established prudential standing to proceed on their APA claims.
                                                                         14          Plaintiffs primarily rely on our court of appeals’ recent decision in Hawaii v. Trump,
                                                                         15   859 F.3d 741, 765 (9th Cir. 2017), as well as on various provisions of the INA which provide for
                                                                         16   student- and employment-related immigrant visas. Plaintiffs do not contend, however, that their
                                                                         17   DACA-recipient students or employees qualify for such visas. Nor do plaintiffs point to
                                                                         18   any provisions of the INA which indicate a protected interest in enrolling students with deferred
                                                                         19   action in their schools or universities. Plaintiffs are also unable to point to any provision of the
                                                                         20   INA indicating that Congress intend to protected Plaintiff States’ interests in maintaining income
                                                                         21   tax revenue or avoiding increased healthcare costs.
                                                                         22          By contrast, local and state governments San Jose, Santa Clara, California, and
                                                                         23   Maryland, as well as the University of California, have all identified injuries resulting from their
                                                                         24   status as employers, and allege harm caused by their employees’ future loss of deferred action
                                                                         25   and associated work authorization. The INA gives the Executive Branch broad discretion to
                                                                         26   determine when noncitizens may work in the United States, 8 U.S.C. § 1324a(h)(3), and
                                                                         27   regulations promulgated pursuant to this authority allow recipients of deferred action to apply
                                                                         28   for work authorization if they can demonstrate an “economic necessity for employment.”


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 28 of 49



                                                                          1    8 C.F.R. § 274a.12(c)(14). Moreover, the INA contains detailed provisions which subject
                                                                          2    employers to criminal and civil liability for knowingly hiring unauthorized aliens, see 8 U.S.C.
                                                                          3    § 1324a(a)(1)(A), and for “continu[ing] to employ the alien in the United States knowing
                                                                          4    the alien is (or has become) an unauthorized alien with respect to such employment,” id.
                                                                          5    § 1324a(a)(2). The work authorization document that the agency issues to DACA recipients
                                                                          6    is one of the documents that is acceptable for Form I-9, Employment Eligibility Verification,
                                                                          7    which employers must complete and retain for each individual they hire for employment in the
                                                                          8    United States (App. 2061–62). Plaintiffs’ interest in their employees’ continued authorization
                                                                          9    to work in the United States is therefore “arguably within the zone of interests” that the INA
                                                                         10    protects. Hawaii, 859 F.3d at 765; Nat’l Credit Union Admin., 522 U.S. at 488.12
                                                                         11            Accordingly, even though the zone of interests inquiry is not demanding, this order
United States District Court
                               For the Northern District of California




                                                                         12    concludes that Maine and Minnesota’s interests are “so marginally related” to the purposes
                                                                         13    implicit in the INA that it cannot reasonably be assumed that Congress intended to permit the
                                                                         14    suit. Maine and Minnesota’s APA claims are accordingly DISMISSED WITH LEAVE TO AMEND.
                                                                         15    The remaining entity plaintiffs, however, have established that their interests that support
                                                                         16    Article III standing also satisfy the APA’s zone of interests test.
                                                                         17                                         *                   *                  *
                                                                         18            Apart from the holding that Maine and Minnesota do not have statutory standing, the
                                                                         19    foregoing rejects all of the government’s jurisdictional arguments to dismiss plaintiffs’
                                                                         20    challenges under the Administrative Procedure Act.
                                                                         21            2.       PROVISIONAL RELIEF.
                                                                         22            Plaintiffs seek a preliminary injunction to restore DACA. To support a preliminary
                                                                         23    injunction, plaintiffs must establish four elements: (1) likelihood of success on the merits;
                                                                         24    (2) irreparable harm in the absence of preliminary relief; (3) that the balance of equities tips in
                                                                         25
                                                                         26           12
                                                                                         Defendants’ sole argument against the entity plaintiffs’ prudential standing is that no provision
                                                                              of the INA protects the entity plaintiffs from “bearing the incidental effects” of a denial of deferred action.
                                                                         27   The case on which defendants rely, however, dealt with a private anti-immigration organization whose members
                                                                              were not impacted by the immigration policy at issue. See Fed’n for Am. Immigration Reform, Inc. v. Reno,
                                                                         28   93 F.3d 897, 899 (D.C. Cir. 1996).


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 29 of 49



                                                                          1   their favor; and (4) that the injunction is in the public interest. Winter v. Natural Resources
                                                                          2   Defense Council Inc., 555 U.S. 7, 20 (2008). As now explained, the record warrants most of the
                                                                          3   provisional relief requested.
                                                                          4                  A.      Likelihood of Success on the Merits.
                                                                          5          Plaintiffs have shown a likelihood of success on their claim that the rescission
                                                                          6   was arbitrary, capricious, an abuse of discretion, or not otherwise in accordance with law.
                                                                          7   Specifically, plaintiffs are likely to succeed on their claims that: (1) the agency’s decision to
                                                                          8   rescind DACA was based on a flawed legal premise; and (2) government counsel’s supposed
                                                                          9   “litigation risk” rationale is a post hoc rationalization and would be, in any event, arbitrary and
                                                                         10   capricious.
                                                                         11                          (1)      The Rescission was Based on a Flawed Legal Premise.
United States District Court
                               For the Northern District of California




                                                                         12          The agency action was “not in accordance with law” because it was based on the flawed
                                                                         13   legal premise that the agency lacked authority to implement DACA. When agency action is
                                                                         14   based on a flawed legal premise, it may be set as aside as “arbitrary, capricious, an abuse of
                                                                         15   discretion, or otherwise not in accordance with law.” See Massachusetts, 549 U.S. at 532
                                                                         16   (setting aside the EPA’s denial of a petition for rulemaking under the Clean Air Act for
                                                                         17   supposed lack of authority); Safe Air for Everyone v. EPA, 488 F.3d 1088, 1101 (9th Cir. 2007).
                                                                         18   This order holds that DACA fell within the agency’s enforcement authority. The contrary
                                                                         19   conclusion was flawed and should be set aside.
                                                                         20          The administrative record includes the 2014 determination of the Office of Legal Counsel
                                                                         21   of the United States Department of Justice that programmatic deferred action is a permissible
                                                                         22   exercise of DHS’s enforcement discretion. OLC noted that deferred action programs such as
                                                                         23   DACA are permissible so long as immigration officials retain discretion to evaluate each
                                                                         24   application on an individualized basis and so long as the concerns animating the program were
                                                                         25   consistent with the types of concerns that have customarily guided the exercise of immigration
                                                                         26   enforcement discretion. OLC recognized that the “practice of granting deferred action date[d]
                                                                         27   back several decades,” and that “Congress has long been aware of the practice of granting
                                                                         28   deferred action, including in its categorical variety, and of its salient features; and it has never


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 30 of 49



                                                                          1    acted to disapprove or limit the practice.” Indeed, not only has Congress not limited the practice,
                                                                          2    but it has “enacted several pieces of legislation that have either assumed that deferred action
                                                                          3    would be available in certain circumstances, or expressly directed that deferred action be
                                                                          4    extended to certain categories of aliens” (AR 15–27).
                                                                          5               As explained in OLC’s opinion, each feature of the DACA program is anchored in
                                                                          6    authority granted or recognized by Congress or the Supreme Court. Because this is the heart
                                                                          7    of the problem, and with apology for some repetition, this order will now examine each feature
                                                                          8    in turn.
                                                                          9               The Secretary of Homeland Security is responsible under the INA for “establishing
                                                                         10    national immigration enforcement policies and priorities.” 6 U.S.C. § 202(5). The Secretary is
                                                                         11    also charged with the administration and enforcement of the INA. 8 U.S.C. § 1103. In making
United States District Court
                               For the Northern District of California




                                                                         12    immigration enforcement decisions, the executive “considers a variety of factors such as the
                                                                         13    danger posed to the United States of an individual’s unlawful presence, the impact of removal
                                                                         14    on the nation’s international relations, and the ‘human concerns’ of whether the individual ‘has
                                                                         15    children born in the United States, long ties to the community, or a record of distinguished
                                                                         16    military service.’” Arpaio v. Obama, 797 F.3d 11, 16 (D.C. Cir. 2015) (citing Arizona v. United
                                                                         17    States, 132 S. Ct. 2492, 2499 (2012)). In instituting DACA, Secretary Napolitano explained that
                                                                         18    the program was “necessary to ensure that [DHS’s] enforcement resources are not expended on
                                                                         19    [] low priority cases but are instead appropriately focused on people who meet our enforcement
                                                                         20    priorities” (AR 1).13
                                                                         21               As set forth above, deferred action originated without any statutory basis apart from the
                                                                         22    discretion vested by Congress in connection with the agency’s enforcement of the immigration
                                                                         23    laws. Over the decades, however, deferred action became such a fixture that Congress referred
                                                                         24    to it by name in several INA amendments. See, e.g., 8 U.S.C. § 1227(d)(2) (stating that U visa
                                                                         25    and T visa applicants who were denied an administrative stay of removal were not precluded
                                                                         26    from applying for “deferred action”); 8 U.S.C. § 1154(a)(1)(D)(i)(II) (stating that eligible
                                                                         27
                                                                                       13
                                                                                          The United States Court of Appeals for the District of Columbia Circuit did not reach the merits of
                                                                         28   Sheriff Joe Arpaio’s challenges to DACA and DAPA but instead dismissed the case for lack of Article III
                                                                              standing. Arpaio, 797 F.3d at 15.

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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 31 of 49



                                                                          1    derivatives of VAWA petitioners were eligible for “deferred action” and work authorization); 8
                                                                          2    U.S.C. § 1151 note (stating that certain immediate family members of certain United States
                                                                          3    citizens “shall be eligible for deferred action”). Congress has also acknowledged deferred action
                                                                          4    in enactments outside of the INA. See, e.g., 49 U.S.C. § 30301 note (specifying that evidence of
                                                                          5    lawful status includes proof of “deferred action status”); USA PATRIOT Act of 2001, Pub. L.
                                                                          6    No. 107-56, § 423(b), 115 Stat. 272, 361 (stating that immediate family members of legal
                                                                          7    permanent residents killed on September 11, 2001 “may be eligible for deferred action”).
                                                                          8    Congress has been free to constrain DHS’s discretion with respect to granting deferred action,
                                                                          9    but it has yet to do so.
                                                                         10              The Supreme Court has recognized the authority of DHS to grant relief from removal,
                                                                         11    Arizona, 567 U.S. at 396, and has specifically recognized deferred action as a way to exercise
United States District Court
                               For the Northern District of California




                                                                         12    that discretion — “for humanitarian reasons or simply for [the Executive’s] own convenience.”
                                                                         13    AADC, 525 U.S. at 484. Notably, our court of appeals has said that “the exercise of
                                                                         14    prosecutorial discretion in deferred action flows from the authority conferred on the Secretary by
                                                                         15    the INA.” Arizona Dream Act Coal. v. Brewer, 855 F.3d 957, 968 (9th Cir. 2017) (“Brewer
                                                                         16    II”).14
                                                                         17              In extending programmatic deferred action to DACA enrollees, the agency acted within
                                                                         18    the scope of this long and recognized practice. In the exercise of its enforcement discretion and
                                                                         19    policy-making, the agency simply found that DACA enrollees represented low priority cases
                                                                         20    for removal and instituted DACA to manage that population while it redirected its resources
                                                                         21    elsewhere. Even for enrollees approved under the program, DHS expressly retained the
                                                                         22    authority to terminate their deferred action at any time, in the agency’s discretion. DACA
                                                                         23    provided no guarantee against removal.
                                                                         24              Nevertheless, DACA has provided recipients with a major benefit, namely work
                                                                         25    authorizations for the period of deferral upon a demonstration of economic need. This has
                                                                         26
                                                                         27            14
                                                                                          In Brewer II, our court of appeals denied a petition for rehearing en banc. Circuit Judge Kozinski,
                                                                              joined by five other Circuit Judges, filed a dissent to the denial of the petition, expressing the view that DACA
                                                                         28   did not preempt Arizona’s law refusing to issue drivers’ licenses to DACA recipients. 855 F.3d at 958–62.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 32 of 49



                                                                          1   allowed DACA recipients to become part of the mainstream workforce and contribute openly
                                                                          2   to our economy. Significantly, Section 1324a(h)(3) defines an “unauthorized alien” not entitled
                                                                          3   to work in the United States as an alien who is neither a legal permanent resident nor “authorized
                                                                          4   to be . . . employed by [the INA] or by the [Secretary of Homeland Security].” In turn, the
                                                                          5   Secretary of Homeland Security has allowed work authorizations in cases of deferred action
                                                                          6   under 8 C.F.R. § 274a.12(c)(14). As our court of appeals has stated, “the Executive Branch has
                                                                          7   determined that deferred action recipients — including DACA recipients — are ordinarily
                                                                          8   authorized to work in the United States.” See Brewer I, 757 F.3d at 1062.
                                                                          9          It is also within the lawful authority of the agency to determine that DACA recipients
                                                                         10   do not accrue “unlawful presence” for purposes of the INA’s bars on re-entry. Pursuant to
                                                                         11   pre-existent DHS regulations and policy guidance, deferred action recipients already avoided
United States District Court
                               For the Northern District of California




                                                                         12   accrual of “unlawful presence.” 8 C.F.R. § 214.14(d)(3); 28 C.F.R. § 1100.35(b)(2);
                                                                         13   Memorandum for Field Leadership, from Donald Neufeld, Acting Associate Director, Domestic
                                                                         14   Operations Directorate, USCIS, Re: Consolidation of Guidance Concerning Unlawful Presence
                                                                         15   for Purposes of Sections 212(a)(9)(B)(i) and 212(a)(9)(C)(i)(i) of the Act at 42 (May 6, 2009).
                                                                         16   Importantly, DHS excludes recipients of deferred action from being “unlawfully present”
                                                                         17   because their deferred action is considered a period of stay authorized by the government. See 8
                                                                         18   U.S.C. § 1182(a)(9)(B)(ii) (an alien is deemed to be unlawfully present if the alien is present “in
                                                                         19   the United States after the expiration of the period of stay authorized by the Attorney General
                                                                         20   [and now the Secretary of Homeland Security]”); Brewer I, 757 F.3d at 1059.
                                                                         21          Allowing DACA recipients to apply for and obtain advance parole to travel overseas and
                                                                         22   return to the United States is also in accord with pre-existing regulations. 8 C.F.R. § 212.5(f);
                                                                         23   8 U.S.C. § 1182(d)(5)(A) (the Attorney General [and now the Secretary of Homeland Security]
                                                                         24   may “in his discretion parole into the United States temporarily under such conditions as he
                                                                         25   may prescribe only on a case-by-case basis for urgent humanitarian reasons or significant public
                                                                         26   benefit”).
                                                                         27          In short, what exactly is the part of DACA that oversteps the authority of the agency?
                                                                         28   Is it the granting of deferred action itself? No, deferred action has been blessed by both the


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 33 of 49



                                                                          1   Supreme Court and Congress as a means to exercise enforcement discretion. Is it the granting
                                                                          2   of deferred action via a program (as apposed to ad hoc individual grants)? No, programmatic
                                                                          3   deferred action has been in use since at least 1997, and other forms of programmatic
                                                                          4   discretionary relief date back to at least 1956. Is it granting work authorizations coextensive
                                                                          5   with the two-year period of deferred action? No, aliens receiving deferred action have been able
                                                                          6   to apply for work authorization for decades. Is it granting relief from accruing “unlawful
                                                                          7   presence” for purposes of the INA’s bars on reentry? No, such relief dates back to the George
                                                                          8   W. Bush Administration for those receiving deferred action. Is it allowing recipients to apply for
                                                                          9   and obtain advance parole? No, once again, granting advance parole has all been in accord
                                                                         10   with pre-existing law. Is it combining all these elements into a program? No, if each step is
                                                                         11   within the authority of the agency, then how can combining them in one program be outside its
United States District Court
                               For the Northern District of California




                                                                         12   authority, so long as the agency vets each applicant and exercises its discretion on a case-by-case
                                                                         13   basis?
                                                                         14            Significantly, the government makes no effort in its briefs to challenge any of the
                                                                         15   foregoing reasons why DACA was and remains within the authority of the agency. Nor does the
                                                                         16   government challenge any of the statutes and regulations under which deferred action recipients
                                                                         17   obtain the foregoing benefits.
                                                                         18            Instead, the administrative record shows that the Attorney General told the Acting
                                                                         19   Secretary that DACA was illegal. First, the Attorney General said that DACA had been
                                                                         20   improperly adopted by the Obama Administration after “Congress’ repeated rejection of
                                                                         21   proposed legislation that would have accomplished a similar result.” But the proposals rejected
                                                                         22   by Congress markedly differ from DACA. Importantly, while the proposed legislation would
                                                                         23   have offered Dreamers the ability to become lawful permanent residents, no comparable
                                                                         24   pathway was offered by DACA. Our court of appeals recognized this distinction, noting that “the
                                                                         25   DREAM Act and the DACA program are not interchangeable policies because they provided
                                                                         26   different forms of relief.” Brewer II, 855 F.3d at 976 n.10. In fact, the 2012 DACA memo
                                                                         27   made explicit that DACA offered no pathway to lawful permanent residency, much less
                                                                         28   citizenship. Secretary Napolitano concluded her memo by stating that DACA “confer[ed] no


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 34 of 49



                                                                          1    substantive right, immigration status or pathway to citizenship.” To claim that DACA was
                                                                          2    rejected by Congress, therefore, is unfair.15
                                                                          3            Second, another criticism of DACA was that applications received mechanical, routine
                                                                          4    approval without individualized consideration. In her rescission memorandum, the Acting
                                                                          5    Secretary indicated that “[United States Citizenship and Immigration Services] has not been
                                                                          6    able to identify specific denial cases where an applicant appeared to satisfy the programmatic
                                                                          7    categorical criteria as outlined in the [original DACA] memorandum, but still had his or her
                                                                          8    application denied based solely upon discretion.” The simple answer to this, if true, would be
                                                                          9    for the agency to instruct its adjudicators to exercise discretion, on a individualized basis, to
                                                                         10    make sure applicants do not pose a threat to national security or public safety and are otherwise
                                                                         11    deserving of deferred action.
United States District Court
                               For the Northern District of California




                                                                         12            It appears, moreover, that the Acting Secretary was in error when she said that USCIS
                                                                         13    has been unable to identify discretionary denials of DACA applications. She cited no evidence
                                                                         14    for this fact, and none is found in the administrative record. Possibly, the Acting Secretary relied
                                                                         15    on findings made in the DAPA litigation. There, the majority panel noted that USCIS could not
                                                                         16    produce any applications that satisfied the guidelines of the original DACA memorandum but
                                                                         17    were nonetheless refused through an exercise of discretion. Texas, 809 F.3d at 172. As the
                                                                         18    dissent pointed out, however, the district court may have conflated rejections of DACA
                                                                         19    applications with denials, and as a result suggested that most denials were made for mechanical,
                                                                         20    administrative reasons. Id. at 210 (King, J., dissenting). A declaration submitted in that case by
                                                                         21    Donald Neufeld, then-Associate Director for Service Center Operations for USCIS, pointed to
                                                                         22    several instances of discretionary denials. Id. at 175. That same declaration explained that while
                                                                         23    a DACA application was rejected when it was “determined upon intake that the application [had]
                                                                         24    a fatal flaw,” an application was denied when a USCIS adjudicator, on a case-by-case basis,
                                                                         25    determined that the requestor either had not demonstrated that they satisfied the guidelines for
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                                                                                          See, e.g., S. 1291, 107th Congress (2001); S. 1545, 108th Congress (2003); S. 2075, 109th Congress
                                                                         27   (2005); H.R. 5131, 109th Congress (2006); H.R. 1275, 110th Congress (2007); S. 2205, 110th Congress (2007);
                                                                              H.R. 1751, 111th Congress (2009); S. 3827, 111th Congress (2010); S. 3962, 111th Congress (2010); S. 3992,
                                                                         28   111th Congress (2010); H.R. 6497, 111th Congress (2010); S. 952, 112th Congress (2011).


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 35 of 49



                                                                          1   DACA or when an adjudicator determined that deferred action should be denied even though
                                                                          2   the threshold guidelines were met. Id. at 210–11 (dissent). The United States District Court
                                                                          3   for the District of Columbia, in addressing nearly identical statistics, recognized the distinction.
                                                                          4   The district court noted that as of December 2014, 36,860 requests for deferred action under
                                                                          5   DACA were denied and another 42,632 applicants were rejected as not eligible, and concluded
                                                                          6   that such statistics “reflect that [] case-by-case review is in operation.” Arpaio, 27 F. Supp. 3d
                                                                          7   at 209 n.13. The administrative record tendered in our case completely fails to explain this
                                                                          8   apparent discrepancy.
                                                                          9          Third, the main ground given by the Attorney General for illegality was the Fifth
                                                                         10   Circuit’s decision in the DAPA litigation. DACA, the Attorney General said, suffered from the
                                                                         11   same “legal and constitutional defects” leveled against DAPA in Texas v. United States, 809
United States District Court
                               For the Northern District of California




                                                                         12   F.3d 134 (5th Cir. 2015). Upon consideration of the full history of that case, however, this was
                                                                         13   an overstatement.
                                                                         14          In the DAPA litigation, the district court held that DAPA violated the APA’s notice-and-
                                                                         15   comment procedures because it constituted “a new rule that substantially change[d] both the
                                                                         16   status and employability of millions” and inflicted “major costs on both states and federal
                                                                         17   government.” The district court found that the discretionary aspects of DAPA were “merely
                                                                         18   pretext,” based on its finding that DACA had been implemented in such a mechanical way
                                                                         19   as to prevent the exercise of discretion on a case-by-case basis, and DAPA would therefore be
                                                                         20   implemented in the same manner. Notice and opportunity for public comment, it held, should
                                                                         21   have accordingly been given. Texas, 86 F. Supp. 3d at 671.
                                                                         22          Although the Fifth Circuit recognized that “there was conflicting evidence on the degree
                                                                         23   to which DACA allowed discretion,” because the government had failed to produce any
                                                                         24   applications that satisfied all of the criteria but were refused deferred action by an exercise of
                                                                         25   discretion, it was “not error — clear or otherwise —” for the district court to have concluded that
                                                                         26   DHS had only issued denials under mechanical formulae. The appellate court also pointed to
                                                                         27   DACA’s Operating Procedures, which contained “nearly 150 pages of specific instructions for
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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 36 of 49



                                                                          1   granting or denying deferred action,” as supporting the conclusion that DACA did not leave the
                                                                          2   agency free to exercise discretion.
                                                                          3          It cautioned, however, that “[f]or a number of reasons, any extrapolation from DACA
                                                                          4   must be done carefully.” Texas, 809 F.3d at 173 (emphasis added). In particular, the appellate
                                                                          5   court recognized that DACA involved self-selecting applicants, and those who expected to be
                                                                          6   denied relief were unlikely to apply. Id. at 174. The court also recognized that “DACA and
                                                                          7   DAPA are not identical” and that because eligibility for DACA was restricted to a younger and
                                                                          8   less numerous population, DACA applicants were less likely to have backgrounds that would
                                                                          9   warrant a discretionary denial. Ibid.
                                                                         10          In addition to affirming the notice-and-comment holding (over one dissent), two of the
                                                                         11   judges on the Fifth Circuit panel went a large step further and held that DAPA conflicted with
United States District Court
                               For the Northern District of California




                                                                         12   the INA. The majority pointed out that the INA already had a specific provision through which
                                                                         13   aliens could derive lawful status from their children’s immigration status. Id. at 180 n.167
                                                                         14   (citing 8 U.S.C. §§ 1151(b)(2)(A)(i), 1182(a)(9)(B)(i)(II), 1201(a), 1255). DAPA, the majority
                                                                         15   said, circumvented this statutory pathway.
                                                                         16          The Fifth Circuit also pointed out that the INA had specific provisions through which
                                                                         17   aliens could be classified as “lawfully present,” could obtain discretionary relief from removal,
                                                                         18   or could obtain eligibility for work authorization. Because DAPA could make 4.3 million
                                                                         19   removable aliens eligible for lawful presence, employment authorization, and associated
                                                                         20   benefits, the Fifth Circuit concluded that DAPA implicated “questions of deep ‘economic and
                                                                         21   political significance’ that are central to [the INA’s] statutory scheme,” and therefore had
                                                                         22   Congress wished to assign that decision to an agency, “it surely would have done so expressly.”
                                                                         23          The Fifth Circuit rejected the argument that various provisions of the INA, such as the
                                                                         24   broad grant of authority to the agency in 6 U.S.C. § 202(5) (providing that the Secretary “shall
                                                                         25   be responsible for establishing national immigration enforcement policies and priorities”),
                                                                         26   provided the authority to implement DAPA. Rather, it found that such grants of authority could
                                                                         27   not reasonably be construed as assigning the agency decisions of such massive “economic and
                                                                         28   political significance.” Such an interpretation, the majority said, would allow the agency to


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 37 of 49



                                                                          1   grant lawful presence and work authorization to any illegal alien in the United States. It
                                                                          2   concluded that “even with ‘special deference’ to the Secretary,” the INA did not permit the
                                                                          3   reclassification of 4.3 million aliens as “lawfully present,” thereby making them newly eligible
                                                                          4   for a host of federal and state benefits, including work authorization.
                                                                          5          The majority also rejected the argument that DAPA was moored in historical practice,
                                                                          6   finding that such historical practice “does not, by itself, create power,” and that in any event,
                                                                          7   previous deferred-action programs were not analogous to DAPA because most discretionary
                                                                          8   deferrals had been done on a country-specific basis, usually in response to war, civil unrest, or
                                                                          9   natural disasters, or had been bridges from one legal status to another. It found that “[n]othing
                                                                         10   like DAPA, which alters the status of more than four million aliens, has ever been contemplated
                                                                         11   absent direct statutory authorization.”
United States District Court
                               For the Northern District of California




                                                                         12          The majority concluded that Congress had “directly addressed the precise question
                                                                         13   at issue” in DAPA because the INA “prescribes how parents may derive an immigration
                                                                         14   classification on the basis of their child’s status and which classes of aliens can achieve deferred
                                                                         15   action and eligibility for work authorization.” Texas, 809 F.3d at 186. Because it found that
                                                                         16   DAPA was foreclosed by Congress’s “careful plan,” the majority held that the program was
                                                                         17   “manifestly contrary to the statute.”
                                                                         18          While at least some of the majority’s reasons for holding DAPA illegal would apply to
                                                                         19   DACA, fairness requires saying that DACA and DAPA were different, as the panel opinion
                                                                         20   stated. An important criticism against DAPA would not apply against DACA, namely the fact
                                                                         21   that Congress had already established a pathway to lawful presence for alien parents of citizens
                                                                         22   (so that DAPA simply constituted a more lenient substitute route). DACA, by contrast, has no
                                                                         23   such analogue in the INA. And, there is a difference between 4.3 million and 689,800. Finally,
                                                                         24   the criticism that DACA had been mechanically administered without the exercise of discretion
                                                                         25   in individual cases, if true, could be fixed by simply insisting on exercise of discretion. In sum,
                                                                         26   the DAPA litigation was not a death knell for DACA.
                                                                         27          This order holds that, in light of our own court of appeals’ reasoning in Brewer I and
                                                                         28   Brewer II, in light of the analysis of the Office of Legal Counsel of the United States Department


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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 38 of 49



                                                                          1    of Justice, and the reasoning set forth above, our court of appeals will likely hold that DACA
                                                                          2    was and remains a lawful exercise of authority by DHS. Plaintiffs are therefore likely to succeed
                                                                          3    on the merits of their claim that the rescission was based on a flawed legal premise and must be
                                                                          4    set aside as “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
                                                                          5    law.” Massachusetts, 549 U.S. at 528; Sec. & Exch. Comm’n v. Chenery Corp., 318 U.S. 80, 94
                                                                          6    (1943); Safe Air for Everyone, 488 F.3d at 1101.16
                                                                          7                               (2)      Government Counsel’s Alternative Rationale
                                                                                                                   Is Post Hoc and, in Any Event, Arbitrary,
                                                                          8                                        Capricious, and an Abuse of Discretion.
                                                                          9              Government counsel now advances an alternative rationale for the Secretary’s decision to
                                                                         10    rescind DACA. Counsel contends that DHS acted within its discretion in managing its litigation
                                                                         11    exposure in the Fifth Circuit, weighing its options, and deciding on an orderly wind down of the
United States District Court
                               For the Northern District of California




                                                                         12    program so as to avoid a potentially disastrous injunction in the Fifth Circuit. This, they say,
                                                                         13    constituted a reasonable judgment call involving management of litigation risk and agency
                                                                         14    resources.
                                                                         15              Courts, of course, may not accept post hoc rationalizations for agency action, see
                                                                         16    Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962), nor may they “supply a
                                                                         17    reasoned basis for the agency’s action that the agency itself has not given.” Bowman Transp.,
                                                                         18    Inc. v. Ark.-Best Freight Sys., 419 U.S. 281, 285–86 (1974); see also Cal. Pub. Util. Comm’n v.
                                                                         19    Fed. Energy Regulatory Comm’n, No. 16-70481 at 15 (9th Cir. Jan. 8, 2018). Rather, “an
                                                                         20    agency’s action must be upheld, if at all, on the basis articulated by the agency itself.” Motor
                                                                         21    Vehicle Mfrs. Ass’n. of United States, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50
                                                                         22    (1983).
                                                                         23
                                                                         24
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                                                                                          Defendants argue that if the Acting Secretary had relied on DACA’s purported illegality in
                                                                         25   terminating the program, that reliance should be presumed to be a “reasonable policy judgment that immigration
                                                                              decisions of this magnitude should be left to Congress.” This argument finds no support in the administrative
                                                                         26   record. In Syracuse Peace Council v. F.C.C., upon which defendants rely, the agency explicitly based its
                                                                              decision on the independent grounds that a policy was both unconstitutional and contrary to the public interest.
                                                                         27   867 F.2d 654, 656 (D.C. Cir. 1989). Although the court of appeals elected to review only the agency’s policy
                                                                              determination under the APA, it noted that “if the Commission had written its opinion in purely constitutional
                                                                         28   terms, we would have no choice but to address the constitutional issue.” Id. at 659.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 39 of 49



                                                                          1          The reason actually given in the administrative record for the rescission was DACA’s
                                                                          2   purported illegality. The Attorney General’s letter and the Acting Secretary’s memorandum can
                                                                          3   only be reasonably read as stating DACA was illegal and that, given that DACA must, therefore,
                                                                          4   be ended, the best course was “an orderly and efficient wind-down process,” rather than a
                                                                          5   potentially harsh shutdown in the Fifth Circuit. Nowhere in the administrative record did
                                                                          6   the Attorney General or the agency consider whether defending the program in court would
                                                                          7   (or would not) be worth the litigation risk. The new spin by government counsel is a classic
                                                                          8   post hoc rationalization. That alone is dispositive of the new “litigation risk” rationale.
                                                                          9          Significantly, the INA itself makes clear that once the Attorney General had determined
                                                                         10   that DACA was illegal, the Acting Secretary had to accept his ruling as “controlling.” Section
                                                                         11   1103(a)(1) of Title 8, a provision that allocates immigration power and duties among the
United States District Court
                               For the Northern District of California




                                                                         12   Secretary of Homeland Security, the Secretary of State, and the Attorney General, provides that
                                                                         13   “determinations and rulings by the Attorney General with respect to all questions of law shall be
                                                                         14   controlling.” Therefore, once the Attorney General advised the Acting Secretary that DACA
                                                                         15   was illegal, that ruling became “controlling” upon her. She had no choice other than to end
                                                                         16   DACA. She had no room to push back with arguments for the program, to weigh litigation risks,
                                                                         17   or to consider whether DACA recipients warranted fighting for. The ruling of law by the
                                                                         18   Attorney General, controlling upon her, made all such considerations moot. Therefore, the new
                                                                         19   spin by government counsel that the decisionmaker here indulged in a litigation risk assessment
                                                                         20   and, out of caution, chose not to fight for the program in favor of an orderly wind-down is
                                                                         21   foreclosed by the INA itself. Her wind-down references plainly presuppose that DACA had to
                                                                         22   end and the only question was how.
                                                                         23          Nevertheless, this order now indulges government counsel’s new explanation and
                                                                         24   addresses whether it holds up even if taken as authentic. In that event, two major criticisms can
                                                                         25   and should be made of the “litigation risk management” rationale.
                                                                         26          First, even as to the risk in the Fifth Circuit, the administrative record mentions only
                                                                         27   similarities between DAPA and DACA (and even then only in an exceedingly conclusory way).
                                                                         28   No mention appears concerning the differences between DAPA and DACA that might have led


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 40 of 49



                                                                          1   to a different result. In addition to the distinctions made above, one powerful consideration
                                                                          2   should have been the doctrine of laches. Unlike the DAPA challenge filed immediately after
                                                                          3   DAPA was announced, the threatened DACA challenge by ten states would have come five
                                                                          4   years after the program began and after hundreds of thousands of young adults had enrolled and
                                                                          5   entered the workforce. See Abbott Labs., Inc. v. Gardner, 387 U.S. 136, 155 (1967) (adopting
                                                                          6   laches in APA context); see also Arpaio v. Obama, 27 F. Supp. 3d 185, 210 (D.D.C. 2014),
                                                                          7   aff’d, 797 F.3d 11 (D.C. Cir. 2015) (noting that even if plaintiff did have standing he could not
                                                                          8   demonstrate irreparable harm since he waited two years to challenge DACA). Another
                                                                          9   difference was that DACA was precisely the kind of interstitial program of deferred action
                                                                         10   seemingly approved even by the Fifth Circuit, Texas, 809 F.3d at 185, given that both sides of
                                                                         11   the aisle and our two most recent presidents have called for Dreamer legislation. Nor was there
United States District Court
                               For the Northern District of California




                                                                         12   any mention of our own circuit’s more recent decision in Brewer II that favored DACA, or of
                                                                         13   recognition by the district court in the District of Columbia that DACA had, contrary to the
                                                                         14   Fifth Circuit, involved discretionary denials of DACA relief.
                                                                         15          Second, if we are to indulge the spin that the decision to end DACA rested on a
                                                                         16   litigation-management assessment (rather than on a ruling of illegality), then the Acting
                                                                         17   Secretary committed a serious error. Against the litigation risk the Acting Secretary should
                                                                         18   have — but did not — weigh DACA’s programmatic objectives as well as the reliance interests
                                                                         19   of DACA recipients. Encino Motorcars, LLC v. Navarro, — U.S. —, 136 S. Ct. 2117, 2126–27
                                                                         20   (2016). This responsibility lay with the Acting Secretary, not the Attorney General. That is,
                                                                         21   once the Acting Secretary was informed of the supposed litigation risk, it remained her
                                                                         22   responsibility to balance it against competing policy considerations. It remained her
                                                                         23   responsibility to recognize the litigation risk, yet still ask whether the program was worth
                                                                         24   fighting for. The administrative record is utterly silent in this regard.
                                                                         25          The agency reversed over five years of DHS policy, did so only one day after the
                                                                         26   Attorney General’s letter, and did so just three months after Secretary Kelly had continued the
                                                                         27   program (despite the Fifth Circuit’s decision and affirmance). The Acting Secretary failed to
                                                                         28   provide a “reasoned explanation” as to why she was “disregarding facts and circumstances


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 41 of 49



                                                                          1   which underlay or were engendered by the prior policy.” See F.C.C. v. Fox Television Stations,
                                                                          2   Inc., 556 U.S. 502, 516 (2009).
                                                                          3          Encino Motorcars seems very close on point. There, the Supreme Court addressed the
                                                                          4   Department of Labor’s reversal of an interpretive regulation construing the Fair Labor Standard
                                                                          5   Act’s minimum wage and overtime provisions for car dealership employees. Our court of
                                                                          6   appeals gave Chevron deference to the new interpretation. The Supreme Court reversed.
                                                                          7   In determining whether the regulation was “procedurally defective” — and accordingly whether
                                                                          8   the agency’s regulation warranted Chevron deference — the Supreme Court evaluated whether
                                                                          9   the agency had given adequate reasons for its decision to reverse course. Encino Motorcars,
                                                                         10   136 S. Ct. at 2125 (citing Motor Vehicle Mfrs. Ass’n., 463 U.S. at 43). The Supreme Court
                                                                         11   explained (at page 2126) that while agencies are free to change their existing policies, they must
United States District Court
                               For the Northern District of California




                                                                         12   provide a reasoned explanation for a change (quotes and citations omitted):
                                                                         13                  In explaining its changed position, an agency must also be
                                                                                             cognizant that longstanding policies may have engendered serious
                                                                         14                  reliance interests that must be taken into account. In such cases
                                                                                             it is not that further justification is demanded by the mere fact
                                                                         15                  of policy change; but that a reasoned explanation is needed for
                                                                                             disregarding facts and circumstances that underlay or were
                                                                         16                  engendered by the prior policy. It follows that an unexplained
                                                                                             inconsistency in agency policy is a reason for holding an
                                                                         17                  interpretation to be an arbitrary and capricious change from agency
                                                                                             practice.
                                                                         18
                                                                              Because the agency “gave almost no reason at all” for its change in position, the Supreme Court
                                                                         19
                                                                              concluded that the agency had failed to provide the sort of reasoned explanation required in light
                                                                         20
                                                                              of the “significant reliance issues involved.” Id. at 2126–27.
                                                                         21
                                                                                     So too here.
                                                                         22
                                                                                     As there, the agency here reversed its interpretation of its statutory authority. As there,
                                                                         23
                                                                              the administrative record here includes no analysis of the “significant reliance issues involved.”
                                                                         24
                                                                              The parallel is striking. In terminating DACA, the administrative record failed to address the
                                                                         25
                                                                              689,800 young people who had come to rely on DACA to live and to work in this country.
                                                                         26
                                                                              These individuals had submitted substantial personal identifying information to the government,
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                                                                              paid hefty fees, and planned their lives according to the dictates of DACA. The administrative
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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 42 of 49



                                                                          1    record includes no consideration to the disruption a rescission would have on the lives of DACA
                                                                          2    recipients, let alone their families, employers and employees, schools and communities.17
                                                                          3            Ironically, government counsel now cite material outside of the administrative record in
                                                                          4    an attempt to show the Acting Secretary considered the plight of DACA recipients (Dkt. 204 at
                                                                          5    10, 12, 19–20). This press release came after the fact and was not part of the administrative
                                                                          6    record, and therefore cannot now rescue the agency. In that respect, Cal. Pub. Util. Comm’n,
                                                                          7    No. 16-70481 at 17 n.4 is analogous. There, our court appeals refused to consider an agency’s
                                                                          8    position which was not advanced in connection with the decision under review but, rather, was
                                                                          9    offered for the first time afterwards.
                                                                         10            Defendants next argue that because no statute here dictated the factors for an agency to
                                                                         11    consider in granting or rescinding deferred action, the agency need not have given weight to the
United States District Court
                               For the Northern District of California




                                                                         12    benefits of the DACA program or the harm that would be caused to its recipients upon its
                                                                         13    rescission. The Supreme Court has recognized, however, that “[c]onsideration of cost reflects
                                                                         14    the understanding that reasonable regulation ordinarily requires paying attention to the
                                                                         15    advantages and the disadvantages of agency decision.” Michigan v. EPA, — U.S. —, 135 S. Ct.
                                                                         16    2699, 2707 (2015). While defendants attempt to distinguish Michigan on the ground that the
                                                                         17    text of the statute required regulation there to be “appropriate and necessary,” they ignore that a
                                                                         18    change in agency policy requires the agency to have “good reasons for it.” Fox TV Stations,
                                                                         19    Inc., 556 U.S. at 515.
                                                                         20            Defendants, of course, are correct that when an agency reverses policy it “need not
                                                                         21    demonstrate to a court’s satisfaction that the reasons for the new policy are better than the
                                                                         22    reasons for the old one.” Ibid. Where, however, an agency abruptly changes course and
                                                                         23    terminates a program on which so many people rely, the APA requires “a more detailed
                                                                         24    justification.” Ibid. Indeed, “[i]t would be arbitrary and capricious to ignore such matters.”
                                                                         25    Ibid. In such cases, “it is not that further justification is demanded by the mere fact of policy
                                                                         26    change; but that a reasoned explanation is needed for disregarding facts and circumstances that
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                                                                                         Here, perhaps in light of Encino Motors, the government does not argue that Chevron deference
                                                                         28   should be afforded to the Attorney General’s legal conclusion that DACA exceeded the agency’s authority.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 43 of 49



                                                                          1   underlay or were engendered by the prior policy.” Id. at 515–16. Defendants’ attempt to portray
                                                                          2   DACA as a program that did not generate reliance interests is unconvincing. As plaintiffs’
                                                                          3   evidence shows, DACA recipients, their employers, their colleges, and their communities all
                                                                          4   developed expectations based on the possibility that DACA recipients could renew their deferred
                                                                          5   action and work authorizations for additional two-year periods.
                                                                          6          In sum, government counsel’s alternative spin on the administrative record is just a post
                                                                          7   hoc rationalization. But, even if it had been the actual rationale, it was arbitrary, capricious, and
                                                                          8   an abuse of discretion under Encino Motors.
                                                                          9                                   *                 *                 *
                                                                         10          Accordingly, plaintiffs have shown that they are likely to succeed on the merits of their
                                                                         11   claim that the rescission was arbitrary and capricious and must be set aside under the APA.
United States District Court
                               For the Northern District of California




                                                                         12                  B.      Irreparable Harm.
                                                                         13          Plaintiffs have clearly demonstrated that they are likely to suffer serious irreparable harm
                                                                         14   absent an injunction. Before DACA, Individual Plaintiffs, brought to America as children, faced
                                                                         15   a tough set of life and career choices turning on the comparative probabilities of being deported
                                                                         16   versus remaining here. DACA gave them a more tolerable set of choices, including joining the
                                                                         17   mainstream workforce. Now, absent an injunction, they will slide back to the pre-DACA era and
                                                                         18   associated hardship.
                                                                         19          The University of California and other entity plaintiffs have also demonstrated that they
                                                                         20   face irreparable harm as they begin to lose valuable students and employees in whom they have
                                                                         21   invested, and that loss of DACA recipients from the workforce will have a detrimental impact on
                                                                         22   their organization interests, economic output, public health, and safety.
                                                                         23          Our court of appeals recently confirmed that “prolonged separation from family
                                                                         24   members” and “constraints to recruiting and retaining faculty members to foster diversity and
                                                                         25   quality within the University community” are harms which are not compensable with monetary
                                                                         26   damages and therefore weigh in favor of finding irreparable harm. Hawaii v. Trump,
                                                                         27   No. 17-17168, 2017 WL 6554184, at *22 (9th Cir. Dec. 22, 2017). These showings accordingly
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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 44 of 49



                                                                          1    demonstrate that preliminary relief is appropriate. Ibid.; see also Valle del Sol Inc. v. Whiting,
                                                                          2    732 F.3d 1006, 1029 (9th Cir. 2013).
                                                                          3             Defendants do not dispute that plaintiffs are likely to suffer such harms. Rather, they
                                                                          4    argue that these harms will not happen before the phase-out begins on March 5, 2018, the date
                                                                          5    by which the undersigned judge had wanted to present a final record and final decision for
                                                                          6    appellate review.
                                                                          7             Delays in this case, however, have made it impossible to send a final judgment to our
                                                                          8    court of appeals by March 5. To take only one example, it would be unfair to reach a conclusion
                                                                          9    without giving plaintiffs an opportunity to examine the complete administrative record.
                                                                         10    Government counsel, however, succeeded in obtaining an order from the Supreme Court
                                                                         11    postponing proceedings on completing the administrative record until after ruling on its
United States District Court
                               For the Northern District of California




                                                                         12    FRCP 12(b)(1) motion to dismiss. As a result, we have yet to receive a complete administrative
                                                                         13    record. Although plaintiffs are likely to prevail on even the truncated administrative record, as
                                                                         14    set forth above, our appellate court might disagree with that conclusion or the agency might seek
                                                                         15    to cure the flaws in its process via a fresh agency action. Plaintiffs are entitled to learn of all
                                                                         16    flaws, if any more there be, lurking in the whole record. One such possibility suggested by
                                                                         17    plaintiffs is that the rescission was contrived to give the administration a bargaining chip to
                                                                         18    demand funding for a border wall in exchange for reviving DACA. A presidential tweet after
                                                                         19    our hearing gives credence to this claim. Another possibility raised by plaintiffs is racial animus.
                                                                         20    These theories deserve the benefit of the full administrative record. It will be impossible to
                                                                         21    litigate this case to a fair and final conclusion before March 5.18
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                                                                                          On December 29, 2017, President Trump tweeted: “The Democrats have been told, and fully
                                                                         26   understand, that there can be no DACA without the desperately needed WALL at the Southern Border and an
                                                                              END to the horrible Chain Migration & ridiculous Lottery System of Immigration etc. We must protect our
                                                                         27   Country at all cost!” (Dkt. No. 227-2). Plaintiffs separately request judicial notice of this tweet. Defendants
                                                                              object to judicial notice on various relevancy grounds, but do not argue that it is not properly subject to judicial
                                                                         28   notice under FRE 201 (Dkt. Nos. 227, 230). Plaintiffs’ request is accordingly GRANTED.


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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 45 of 49



                                                                          1                  C.      Balance of Equities and Public Interest.
                                                                          2          On provisional relief motions, district judges must consider whether (or not) such relief
                                                                          3   would be in the public interest. On this point, we seem to be in the unusual position wherein the
                                                                          4   ultimate authority over the agency, the Chief Executive, publicly favors the very program the
                                                                          5   agency has ended. In September, President Trump stated his support for DACA, tweeting:
                                                                          6   “Does anybody really want to throw out good, educated and accomplished young people who
                                                                          7   have jobs, some serving in the military? Really! . . . .” He has also called upon Congress to
                                                                          8   ratify DACA, tweeting, “Congress now has 6 months to legalize DACA (something the Obama
                                                                          9   Administration was unable to do). If they can’t, I will revisit this issue!” (App. 1958).
                                                                         10          For the reasons DACA was instituted, and for the reasons tweeted by President Trump,
                                                                         11   this order finds that the public interest will be served by DACA’s continuation (on the conditions
United States District Court
                               For the Northern District of California




                                                                         12   and exceptions set out below). Beginning March 5, absent an injunction, one thousand
                                                                         13   individuals per day, on average, will lose their DACA protection. The rescission will result in
                                                                         14   hundreds of thousands of individuals losing their work authorizations and deferred action status.
                                                                         15   This would tear authorized workers from our nation’s economy and would prejudice their being
                                                                         16   able to support themselves and their families, not to mention paying taxes to support our nation.
                                                                         17   Too, authorized workers will lose the benefit of their employer-provided healthcare plans and
                                                                         18   thus place a greater burden on emergency healthcare services.
                                                                         19          On provisional relief motions, district judges must also weigh the balance of hardships
                                                                         20   flowing from a grant versus denial of provisional relief. The hardship to plaintiffs need not be
                                                                         21   repeated. The only hardship raised by defendants is interference with the agency’s judgment on
                                                                         22   how best to allocate its resources in keeping our homeland secure, as well as its judgment in
                                                                         23   phasing out DACA. Significantly, however, the agency’s judgment here was not based on a
                                                                         24   policy change. It was based on a mistake of law. If the instant order is correct that DACA fell
                                                                         25   within the statutory and constitutional powers of the Executive Branch, then a policy supported
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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 46 of 49



                                                                          1    as high up as our Chief Executive has been the victim of a colossal blunder. A preliminary
                                                                          2    injunction will set that right without imposing any policy unwanted by the Executive Branch.19
                                                                          3                      D.        Scope of Provisional Relief.
                                                                          4             For the foregoing reasons, defendants ARE HEREBY ORDERED AND ENJOINED, pending
                                                                          5    final judgment herein or other order, to maintain the DACA program on a nationwide basis on
                                                                          6    the same terms and conditions as were in effect before the rescission on September 5, 2017,
                                                                          7    including allowing DACA enrollees to renew their enrollments, with the exceptions (1) that new
                                                                          8    applications from applicants who have never before received deferred action need not be
                                                                          9    processed; (2) that the advance parole feature need not be continued for the time being for
                                                                         10    anyone; and (3) that defendants may take administrative steps to make sure fair discretion is
                                                                         11    exercised on an individualized basis for each renewal application.
United States District Court
                               For the Northern District of California




                                                                         12             Nothing in this order prohibits the agency from proceeding to remove any individual,
                                                                         13    including any DACA enrollee, who it determines poses a risk to national security or public
                                                                         14    safety, or otherwise deserves, in its judgment, to be removed. Nor does this order bar the agency
                                                                         15    from granting advance parole in individual cases it finds deserving, or from granting deferred
                                                                         16    action to new individuals on an ad hoc basis.
                                                                         17             The agency shall post reasonable public notice that it will resume receiving DACA
                                                                         18    renewal applications and prescribe a process consistent with this order. The agency shall keep
                                                                         19    records of its actions on all DACA-related applications and provide summary reports to the
                                                                         20    Court (and counsel) on the first business day of each quarter.20
                                                                         21
                                                                         22            19
                                                                                          If a likelihood of irreparable injury is shown and an injunction is in the public interest, a preliminary
                                                                              injunction is also appropriate when a plaintiff demonstrates that serious questions going to the merits are raised
                                                                         23   and the balance of hardships tips sharply in the plaintiff’s favor. Alliance for the Wild Rockies v. Cottrell,
                                                                              632 F.3d 1127, 1134–35 (9th Cir. 2011). Because plaintiffs have clearly demonstrated a likelihood of
                                                                         24   irreparable injury and that the balance of hardships tips sharply in plaintiffs’ favor, preliminary relief would also
                                                                              be appropriate under this alternative standard of review.
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                                                                                           A mandatory injunction orders a responsible party to take action, while “[a] prohibitory injunction
                                                                         26   prohibits a party from taking action and preserves the status quo pending a determination of the action on the
                                                                              merits.” Brewer I, 757 F.3d at 1060. The relevant status quo is the legally relevant relationship between the
                                                                         27   parties before the controversy arose. Id. at 1061. Here, plaintiffs contest the validity of defendants’ rescission
                                                                              of DACA, the status quo before which was that DACA was fully implemented. Accordingly, plaintiffs’
                                                                         28   requested preliminary injunction is not mandatory. But even if it were, plaintiffs have demonstrated that
                                                                              sufficiently serious irreparable harm would result to warrant even a mandatory injunction.

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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 47 of 49



                                                                          1          By way of explanation, while plaintiffs have demonstrated that DACA recipients,
                                                                          2   as well as their families, schools, employers, and communities, are likely to suffer substantial,
                                                                          3   irreparable harm as a result of the rescission, they have not made a comparable showing as to
                                                                          4   individuals who have never applied for or obtained DACA.
                                                                          5          This order will not require advance parole. Unlike the widespread harm to plaintiffs and
                                                                          6   our economy that would result were the 689,800 DACA enrollees to lose their ability to work in
                                                                          7   this country, plaintiffs have not demonstrated that comparable harm will occur as a result of
                                                                          8   DACA recipients’ inability to travel abroad. True, Individual Plaintiffs Jirayut Latthivongskorn
                                                                          9   and Norma Ramirez describe professional disadvantages that may result if they are unable to
                                                                         10   travel internationally. These, however, do not amount to hardships justifying a provisional
                                                                         11   injunction requiring DHS to resume accepting applications for advance parole. However, as
United States District Court
                               For the Northern District of California




                                                                         12   stated, nothing in this order would bar individuals from asking for such agency relief or bar the
                                                                         13   agency from granting it in deserving cases.
                                                                         14          With respect to geographical scope, this order finds a nationwide injunction is
                                                                         15   appropriate. Our country has a strong interest in the uniform application of immigration law
                                                                         16   and policy. Plaintiffs have established injury that reaches beyond the geographical bounds
                                                                         17   of the Northern District of California. The problem affects every state and territory of the
                                                                         18   United States.
                                                                         19          In February 2017, our court of appeals considered this very issue in Washington v.
                                                                         20   Trump, 847 F.3d 1151, 1167 (9th Cir. 2017), and upheld a nationwide injunction imposed by a
                                                                         21   single district court, observing that limiting the geographic scope of an injunction on an
                                                                         22   immigration enforcement policy “would run afoul of the constitutional and statutory
                                                                         23   requirements for uniform immigration law and policy” and that, as here, “the government ha[d]
                                                                         24   not proposed a workable alternative.” Indeed, the Fifth Circuit reached the same conclusion in
                                                                         25   determining the appropriate scope of an injunction over DAPA, Texas, 809 F.3d at 187–88,
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                                                                               Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 48 of 49



                                                                          1    holding that uniform application of the immigration laws justified a nationwide injunction. So
                                                                          2    too here.21
                                                                          3             Limiting relief to the States in suit or the Individual Plaintiffs would result in
                                                                          4    administrative confusion and simply provoke many thousands of individual lawsuits all over the
                                                                          5    country. The most practical relief is to maintain DACA in the same manner to which the agency
                                                                          6    and recipients are accustomed, subject to the exceptions above noted.
                                                                          7                                                     CONCLUSION
                                                                          8             Defendants’ motion to dismiss under FRCP 12(b)(1) is GRANTED IN PART only to the
                                                                          9    limited extent stated above and is otherwise DENIED. Maine and Minnesota’s APA claims are
                                                                         10    hereby DISMISSED. Maine or Minnesota may seek leave to amend and will have 21 CALENDAR
                                                                         11           from the date of this order to file a motion, noticed on the normal 35-day track, for leave to
United States District Court




                                                                               DAYS
                               For the Northern District of California




                                                                         12    file an amended complaint. A proposed amended complaint must be appended to the motion and
                                                                         13    plaintiffs must plead their best case. Any such motion should clearly explain how the
                                                                         14    amendments to the complaint cure the deficiencies identified herein. To the extent stated above,
                                                                         15    plaintiffs’ motion for provisional relief is GRANTED. A separate order will address defendants’
                                                                         16    motion to dismiss pursuant to FRCP 12(b)(6).
                                                                         17                                CERTIFICATION UNDER 28 U.S.C. § 1292(b)
                                                                         18             Pursuant to our court of appeals’ order dated December 21, 2017, the district court
                                                                         19    hereby certifies for interlocutory appeal the issues decided herein (i) whether (or not) the
                                                                         20    rescission of DACA is unreviewable as committed to agency discretion or by reason of 8 U.S.C.
                                                                         21    § 1252(g), (ii) whether (or not) plaintiffs have standing, and (iii) all other questions interposed
                                                                         22    by the government in its motion to dismiss under FRCP 12(b)(1). This order finds that these are
                                                                         23    controlling questions of law as to which there is substantial ground for difference of opinion and
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                                                                                          Oddly, the government’s contrary authority is Bresgal v. Brock, 843 F.2d 1163, 1169–70 (9th Cir.
                                                                              1987), a decision in which our court of appeals upheld a nationwide injunction and held, “[t]here is no general
                                                                         26   requirement that an injunction affect only the parties in the suit,” and “nationwide relief in federal district or
                                                                              circuit court [is permitted] when it is appropriate.” Bresgal merely observed that “[w]here relief can be
                                                                         27   structured on an individual basis, it must be narrowly tailored to remedy the specific harm shown.” Id. at 1170.
                                                                              Here, it cannot be so structured. Nor are any of the government’s other authorities, which restate the general
                                                                         28   proposition that a remedy should match the injury alleged, see, e.g., Town of Chester v. Laroe Estates, Inc.,
                                                                              137 S. Ct. 1645, 1650 (2017), to the contrary.

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                                                                              Case 3:17-cv-05211-WHA Document 234 Filed 01/09/18 Page 49 of 49



                                                                          1   that their resolution by the court of appeals will materially advance the litigation. This order
                                                                          2   realizes that the same issues are reviewable upon appeal of this injunction. Nevertheless, out of
                                                                          3   caution and to avoid any problem concerning scope of review, the district court so certifies.
                                                                          4
                                                                          5          IT IS SO ORDERED.
                                                                          6
                                                                          7   Dated: January 9, 2018.
                                                                                                                                    WILLIAM ALSUP
                                                                          8                                                         UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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